Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 1 of 62 Page ID #:6




                       Exhibit A
                     Case 2:21-cv-04604-PA-SK Document                                     1-1 Filed 06/04/21 Page 2 ofof Court,
                                                                          es on 04121(2021 03:03 PM Sherri R. Carter, Executive Officer/Gerk
                                                                                                                                             62 byPage
                                                                                                                                                   D. RamosID  #:7
                                                                                                                                                            ,Depu ty Clerk
Electronically FILED by Superior Court of California, County of Los Angel
                                                                                        21STCV14966

                                                                                                                                                         FAR COURT USE ONLY
                                                          SU~M1.J~S
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                                                (CITAClON JU~ICtAL)
                                                                                                                                               G~~~~~11 `~` ~ is ~.~ ~ ;t, t"::.t~~v:
          NOTICE TO DEFENDANT:                                                                                                                               F E t.;~ €)
          (AVISO AL DEMAAIDAD4):
            County ofLos Ange3.es; DOES 1 to 50

           YQU ARE BEfNG SUED BY PLAINTIFF:
                                             TE):
           (LO ESi'b DEMAtdDANDO EL DEMANDAlY
                                                          -~rt                                  terest to nary Allen
            Gary Salzman,individually and a~ Successor-in
            Salzman, Jr.(d
                                                                                                                                                                                         information
                                                                                                                                 unless you respond within 30 days. Read the
                                                                          decide against you without your being heard
             NOTICE? You have been sued. The curt may                                                                                                                                      a copy
             below.                                                                                                                 file a written response at this court and have
                           3(l  CALE    iVDA   R  DAYS     afEer  this  summ   ons and legal papers are served on you to                 prope   r legal form  if you  want  the  court to hear your
                 You have
                              piainti tf. A  letter  or phon   e  call will  not prote ct you.Your written response must be Sn                            infor matio n at the  Catif omia Courts
             sewed on the
                                          court  farm   that  you   can   use  for your  respo  nse. You can find these court forms and more If you cannot pay the filing fee, ask
             case. There maybe a                                                                                           courthouse nearest you.
                                                                            selfhe/p), your county law library, or the                                                               y, and property
             flnlir~ 5etf-Help Cerrter (w~vvv.courtinf~.ca.gov/ file your response on Ume, you may lose itie case by default, and your wages, mone
                                                             if you   do  not
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                  There are                                                                                                      from a nonpro
                                                                         ey, you may be efigibie for free fegai services the California Courts Online Self-Help Center
              referral sErvice. ff you cannot afford an attorn                   ces Web   site (www; lawt~elpcaT~'omia.org),                                                       waived fees and
                                                    Calffo  rni~  Legal   Servi                                                   NOTE: The court has a statutory lien for ss the case.
             these nonproftt grqups at the
                                                                        ting your local court or county bar association.                                             court will dismi
             (Lvwwr.crourttnfo.ca.gov/seltnetp), or try c ontac                                                        court'  s lien  must  be   paid  befor e the
                                                                        of $1D,000 or more in a civil case. The                                                                  to infnrmacidn a
              rests on any settlement or arbitration award dentro de 30 dias, is come puede decidir en su contra sin escuchar su version. Lea
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             (Ef hombre y direction de /a Corte es): Los Ange                                                                                                  21STCV 14966
                                                            Angeles, CA 90012
              Central District, 111 N. ~-Iill Street, Lczs
                                                        er of plaintiffs attorney, or plaintiff witho ut an attorney, is:
              The name, address, and telephone numb    tel~fono del abogado    del dema  ndan  fe, o  ds1 derr+andanfe qua no !lane abogado, es):
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               Gary Salzman. 41029 172d St., Lanc
                                                                                                   Sherri R. Carter ~e~~tiv~ Officer! GIerK of Court De ut
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              DATE: ~                                                                 Sf acrearia)                  ~ ~ ~~~~~
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              (Fecha)                                                                             POS-Q10).)
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                   roofofservice ofthis summons,use                 ulario Proo f of Servi ce of Summons,(POS-Q?O)).
                                                      use el forrrr
                   prueba de.entrega de esta citation                                               are served
                                                            NOTICE 70'YHE PERSON SERVEt7: You
                                                            1. Q as an 4ndividual defe ndan t
                                                                                                      iaus name of (specify}:
                                                            2. ~j as the person sued under the f~ctit

                                                                                         1         ~    ~ ~" ~                ~~„~~
                                                            g.(~ on behalf of(specify)'
                                                                                              on)               [_'J CCP 416.60(minor}
                                                               under: ~ CCP 416.10 (corporati                   [~ CAP 416.70(conservatee)
                                                                                                  ration}
                                                                      ~ CCP 416.20 (defunct corpo                              (authorized person}
                                                                                                 or partnership}(~ CAP 416.90
                                                                     (~ CCp X16.40(association
                                                                         [~ other (specify):
                                                                                                          ~- ~                         ~       .                                                  pace 9 of i
                                                             4. [       ,by personal delivery on {Clete): ~                                                                                              ,465
                                                                      113                                                                                              Cade of Civil Procedure §§ 412.20
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                 Fam Adopted for Rdandatnry
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       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 3 of 62 Page ID #:8

                                                                                                    Reserved for Cierk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                         FILE
 Stanley Mosk Courthouse                                                                           su~i~   ,rt c~ ~'~~~
 111 North Hiil Street, Los Angeles, CA 90012                                                        ~'~~`~~~~'~'~~

                   NOTICE OF CASE ASSIGNMENT                                              ~'~~~~'~~'~~'~~"`'"=~°~`~"~'
                           UNLIMITED CIVIL CASE                                            ~~~ ~~—~~ ~ ~~~~                           ~~

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21 STCV14966

                            THIS FORM IS TO BE SERVED `'ViTH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                 DEPT      ROOM                   ASSIGNED JUDGE                        DEPT             ROOM
   ✓    Christopher K. Lui                   76




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    on 0412112(721                                                          Sy R. Perez                                           ,Deputy Clerk
                 (1~are)
LACIV 190(Rev 6/18)         NC~~ICE OF C~►~E ~►~~iGt~nAEtVI° — UN~Ifl~iTED ~6iiiL CASE
LASC Approved 05/06
       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 4 of 62 Page ID #:9

                                  INSTRUCTIONS FOR HANDLIl~TG UNLII~ZITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for yow assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

Ti'V1E STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following tune standards:

COMPLAINTS
All complaints shall be served within 50 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will he scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
dial date, and expert r~vitnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation morions, statements of major evidenriary issues, diapositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference; counsel must also have exchanged
lists of e~ibits and witnesses, and have submitted. to the court a brief statement of the case to be read to the jury panel as requn~ed
by Chapter Three of the Los Angeles Superior Court Rules.

SAllTCT10NS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a parry.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 23, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will he returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally ComQlex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




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Electronically FILED by Superior Court of California, County of Los Angeles on 04/20/2021 Q~~~fv19Sh~rri R. Carter, Executive Q~cer/Clerk of Court, by R. Perez,Deputy Clerk
                                                                                       2a       46
                                                                                                                                                                              CM-01 Q
             AT3'ORNEY OR PARTY 1MTHOUT ATTORNEY(Name, State Barnwnber, and adWess):                                                         FOR CUUR7 USE ONLY
               Gary Salzman
               41029 1724 $t.
               Lancaster,CA 93535

                    re,~PHONE No.: 66i-264-090b                              FAX NO.:
              ATTORNEY FOR (Name}:
            Sl1PERiOR COURT OF CAUPORNiA,COUNTY d~                    I,,os Angeles
                  s~Eer AooR~ss: },11 N. Hill Street
                  M~ur.~.~o~ss: 111 N. Hill Street
                 c~rr ar a zip cooE: Los An eles, CA 900I2
                     BRANCH NAME: CE'iI1tT~.~~iStTICt


            Ga Salzman v. Coun of Los An eles; DOES 1-50
                                                                                                                            use Nun~eER:
             C#VIL CASE CC7VER SHEET            Complex Case Designation
            Q Unlimi#ed   Q Limited                               Joinder
                                                                                                                              ~'1 ~T ~'~,rr '1 ~ ~~ ~
                                                                                                                                                  ---
                                                 Counter
                                                   {Amount                 ~                    O
                   (Amount :                                                                                                 BUDGE:
                   demanded                        demanded is             Fried with first appearance by defendant
                   exceeds $25,000}                $25,000 ar less)            (Cal. Rules of Court, rule 3.402)              o~'T
                                                                                    .v~ie+r✓rowv
                                                        lCG7NJ t —v uwvvu eee~.au~ uc-                                 r»y— —i•

            i. Check orte box below for the case type thafi best describes this case:
               Auto Tort                                          Contract                                          Provisionally Complxx Civil Litigation
                                                                  ~     Breach of corrtractlwarranty (06)           {Cal. Rotes of Court, rules 3.404-3.403)
                      Auto(22}
               Q Uninsured motorist(46)                           D     Ruls 3.740 Cotlectians (D9)                0AntitrustiTrade regulation (03)
               Other PUPD/YVD (Personal      [njury/Property      Q     Other co{lections(09)                      0Construction defect(t0}
               D
               t~-
                 a-m~ageNYrongfut Deatb)Tort                      ~ Insurance coverage (18)                        0Mass fart(4d)
               !—! Asbestos(d4)                                   Q Other contract(37)                             ~ Securities litigation {28)
               Q Product liability (24)                           ~e~~ prQ~eny                                     Q Environmentalffoxic tort(30)
                       Medicak malpractice (4b)                  [~ Eminent dnmainAnverse                           ~ [ns~r~n~ c~v~rac~e claims arising from the
               ~✓ Other PIlPD/WC3 {23}                                   condemnation (14)                            above listed provisionally complex case
                                                                         Wrongful  ev3c6on {33)                       types {41)
                Non-PUPDMIp     (Other}  Tort                     ~
                                                                        Sher   rea{  property {26)                  Enforcement of Judgment
               Q Business tortlunfair business practice      (07) ~
                      ~~~~ h~h{~ tqg~                             Unlawful Detairt~r                               0Enforcement ofjudgment {20)
               C~ Defamation {93)                                 ~ Commercial(31)                                 Mlsceltaneous Civil Complaint
               [~ Fraud {78)                                      0      Residential {321                          Q RICO (27y
                       inte4ectual property (19}                  ~      Drugs  {38)                               Q Other complaint(not specified above)(42)
                      Professionaf negligence (25~                JudiciaE iteview                                  Miscellaneous Civil Petition
               D Other npn-PUPDNW tart(35}                        0 Asset forFeiture (05)                           ~ partnership and corporate governance(21)
               ~oyment                                            0      Petition re: arbitration award {11}        Q Other petition (not specified above)(43}
                 ~„~ Wrnngfui termination {36)                            t,,,,,,,j Writ of mandate (02)
                 Q Other empioymerrt(15)                                            Other ~udicial review 39
            2. This case         is          is not comR~ex under rule 3.400 of the California Rules of Cnurt. !f the case is complex, mark the
               factors requiring exceptional judicial management:
               a.Q Large number of separa#ely represented parties         d.Q E.arge number of witnesses
               b.Q Extensive motion practice raising difficult or novel e:0Coordination with related actions pending in one or more courts
                        issues that will be t'sme-consuming to resolve             in other counties, states, or countries, or in a federal court
               c. Q Substantial amount Qf       documentary  evidence     f. Q     Substantial postjudgment judicia} supervision

            3.   Remedies sought(check af!that apply): a,~ monetary b.Q nonmonetary; declaratory or injunctive relief             ~.Qpunitive
            4.   Number of causes of action (specify): (I} NegligertGe;(2) Wrongful Death;(3) Cal.              Civ. Code  §51.7;(4)42 U.S.C. 9983
            5.   This ease .Q is          ✓~ is not a class action suit.
            6.   1# ttfere are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
             ~~: c~~a4izo21
            Gary Salzman                                                                               '/s/ Gartr Salzman
                                              rrvaF nsx pawl Na5aF1                                                (51GNA'NRE OF PARTY C?R ATTORNEY FOR PARTY}

                                                                                                                                                        filed
              • Pl~infifF must file this cover sheet with the first paper #filed in the action or proceeding (except smafl cairns cases or cases             result
                unci~rthe Probate Cody, Family Code,        or Welfare  and  Institutions  Code). (Cal. Rules of Court, rule 3.220.}   Fai(ur~ to file may
                in sanctions.`
              ~ File fi.~is cover sheet in addition to any cover sheet required by local court rule.
                                                                                                                                 cif this cover sh~~t en al9
              ~ t# fhi5 case i~ compi~x under rule 3.40Q ~t ~~q. ~f the California R~al~~ of Court, You must verge ~ copy
                rather pa~ti~s f~ the a~tior~ ~r proe~~ding.
                                                                                                                               statistical purposes on~.
              ~ Un~~s~ this e5 a col{ections case under rule 3.74fl or a complex case, this cnvar sheet will be used for                                    aae ~ ar a
                                                                           ~+~~~ ~°~~~ ~"~~~~
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                                                                                              om ~E~'['                          Gal. Rules of Court, rules 2.30, 3.220,3.40D-8.403, 3.740;
             Fcxrn Adapted forManclst~~ Use                                                                                              Csl. Strscda~ds of Judicial AdtninistraUon, std. 3.10
               dudttlal Counc~!cf Cal~fomia                                                                                                                             www.GrwrPinfp.ca.gov
                CM~D40(Rev, July 1,2771
         Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 6 of 62 Page ID #:11

                                                                                                                                     CM-010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. if the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3:740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on ali parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, acounter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the ca&e is complex.                                        CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22~Personal Injury/Property                Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
                                                           Breach of Rental/Lease                         AntitrustlTrade Regulation (03)
          Damage/Wrongful Death
                                                               Contract (not unlawful detainer            Construction Defect(10)
    Uninsured Motorist(46)(if the                                                                         Claims Involving Mass Tort(40)
          case involves an uninsured                                or wrongful eviction)
                                                           Contract/Warranty Breach—Seller                Securities Litigation (28)
          motorist claim subject fo                                                                       Environmental/Toxic Tort(30)
          arbitration, check this item                         Plaintiff(not fraud or negligence)
                                                           Negligent Breach of Contract/                  Insurance Coverage Claims
          instead of Auto)                                                                                    (arising fr~m,~rovisionally compFex
                                                               Warranty
Other PIIPDIWD (Personal Injury/                                                                              case type listed above)(41)
                                                           Other Breach of Contract/Warranty
Property Damage/Wrongful Death)                                                                       Enforcement of Judgment
Tort                                                  Collections (e.g., money owed, open
                                                           book accounts)(09)                             Enforcement of Judgment(20)
     Asbestos (04)                                                                                             Abstract of Judgment (Out of
          Asbestos Property Damage                         Collection Case—Seller Plaintiff
                                                           Other Promissory Note/Collections                         County)
          Asbestos Personal Injury/                                                                            Confession of Judgment (non-
               Wrongful Death                                   Case
                                                      Insurance Coverage (not provisionally                          domestic relations)
     Product Liability (not asbestos or                    complex)(18)                                        Sister State Judgment
          toxiclenvironmental)(24)                                                                             Administrative Agency Award
                                                           Auto Subrogation
     Medical Malpractice (45)                                                                                      (not unpaid taxes)
                                                           Other Coverage
          Medical Malpractice—                                                                                 Petition/Certification of Entry of
                Physicians &Surgeons                  Other Contract(37)
                                                                                                                   Judgment on Unpaid Taxes
          Other Professional Health Care                   Contractual Fraud
                                                                                                               Oth       forcement of Judgment
                Malpractice                                Other Contract Dispute                                   Case
     Other PI/PDIWD (23~                         Real Property
                                                                                                      Miscellaneous Civil Complaint
          Premises Liability (e.g., slip              Eminent Domainllnverse
                                                           Condemnation (14)                              RICO (27)
                and fall)                                                                                 Other Complaint(not specified
          Intentional Bodily Injury/PD/WD             Wrongful Eviction (33)                                   above)(42)
                (e.g., assault, vandalism)            Other Real Property (e.g., quiet title)(26)              Declaratory Relief Only
          Intentional Infliction of                        Writ of Possession of Real ProPe~                   Injunctive Relief Only (non-
                Emotiona) Distress                          Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                          Quiet Title                                         Mechanics Lien
                Emotional Distress                         Other Real Property (not eminent                    Other Commercial Complaint
          Other PUPDMID                                    domain, landlord/tenant, or                               Case (non-tort/non-complex)
Non-PI/PD/WD (Other)Tort                                   foreclosure)                                        Other Civil Complaint
     Business TortlUnfair Business                Unlawful Detainer                                                 (non-tort/non-complex)
         Practice (07)                                Commercial (31)                                 Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,              Residential (32)                                     Partnership and Corporate
         false arrest)(not civil                       Drugs (38)(~f the case involves illegal                  Governance (21)
           harassment)(08)                                  drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                      report as Commercial or Residential)               aBove)(43)
           (13)                                   Judicial Review                                               Civil Harassment
     Fraud (16)                                        Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                        Petition Re: Arbitration Award (11)                      Elder/Dependent Adult
     Professional Negligence (25)                      Writ of Mandate (02)                                          Abuse
          Legal Malpractice                                 Writ—Administrative Mandamus                        Election Contest
          Other Professional Malpractice                    WritMandamus an Limited Court                       Petition for Name Change
              (not medical or legal)                            Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort(35)                           Writ—Other Limited Gourt Case                             Claim
 Employment                                                     Review                                          Other Civil Petition
      Wrongful Termination (36)                        Other Judicial Review (39)
      Other Empioymen4(15)                                  Review of Health Officer C1rder
                                                            Notice of Appeal--Labor
                                                               Commissioner Appeals
                                                                                                                                          Paqe 2 of 2
 CM-D10[Rev, July 1,   zoos                           CIVIL CA'sE COVER SHEET
          Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 7 of 62 Page ID #:12

 SHORT TITLE:                                                                                          CASE NUMBER
              Gary Salzman v. County of Los Angeles; DOES 1-50


                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEWIENT OF LOCATION
                (CERTIFICATE OF GROUNDS FOR ASSIGNAfIENT TO COURTHOUSE LOCATION)
                This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010),find the exact case type in
                   Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.      7. Location where petitioner resides.
2. Permissive filing in central district.                                             8. Location wherein defendant/respondentfunctions wholly.

3. Location where cause of action arose.                                               9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                               10. Location of Labor Commissioner Office.
                                                                                     11. Mandatory filing location (Hub Cases —unlawful detainer, limited
5. Location where pertormance required or defendant resides.                         non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                ~                                                           B                                                       ~ .
                     C.ivfl Case GmsrEr 5iiset                                   _     Typs of Action..                                   APplicatsle Reasons,
                            Ca2c~Qryi~t~..                                           (~hecfc only otter                                    ~5tep 31#b~ve

                             Auto (22)              ❑ A7100 Motor Vehicle -Personal Injury/Property DamageNVrongful Death                 1, 4, 11
    o~
   ~~                Uninsured Motorist(46)         ❑ A7110 Personal InjurylProperty DamageNUrongful Death —Uninsured Motorist            1, 4, 11


                                                    ❑ A6070 Asbestos Property Damage                                                      1, 11
                          Asbestos(04)
                                                    ❑ A7221 Asbestos -Personal Injury/Wrongful Death                                      ~, 7 ~

    a~                                                                                                                                    1, 4, 11
                       Product Liability(24)        ❑ A7260 Product Liability (not asbestos or toxic/environmental)
   a o
      a>
   ~~                                                                                                                                     1, 4, 11
    ~ ~                                             ❑ A7210 Medical Malpractice -Physicians &Surgeons
   "c y-             Medical Malpractice (45)                                                                                             1, 4, 11
      c                                             D A7240 Other Professional Health Care Malpractice
    R
    G ~
    O .?
      y
                                                    ❑ A7250 Premises Liability (e.g., slip and fall)                                      1, 4, 11
   a
   °'. rn                Other Personal             p A7230 Intentional Bodil In'u /Pro ert Dama eNVron ful Death e.
        ca
                         Injury Property                                     y ~ ry    p y      9      9          ~ g"                    1, 4, 11
   t R                  Damage Wrongful                     assault, vandalism, etc.)
   O ~                                                                                                                                    1, 4, 11
                           Death (23)               ❑ A7270 Intentional Infliction of Emotional Distress
                                                                                                                                          1, 4, 11
                                                    Q A7220 Other Personal Injury/Property DamageNVrongful Death




   LACIV 109 (~tev 2/16)                       - -_ C'm~~O~L CoA~E CQVEF~i SF~EET ~~DE~D~J                                             Local Rule 2.3

   LASC Approved 03-04                                   ~tND STATEI~#lENT OF LOCATION                                                    Page 1 of 4
        Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 8 of 62 Page ID #:13

SHORT TITLE:                                                                                   CASE NUMBER
               Gary Salzman v. County of Los Angeles; DOES 1-50

                             ~t                                                       B                                              C RDEziicabie
                  Giv~l Case Cover &heet                                         Typs of Action                                   Reasons -See Step 3
                        Category No.                                            {Check on4y one)                                        Ahnve

                     Business Tort(07)          ❑ A6029 Other Commercial/Business Tort (not fraud/breach of contract)             1, 2, 3

  ~ o                 Civil Rights(08)          Cad A6005 Civil Rights/Discrimination                                             1, 2, 3
  a~
  o
  a ~                 Defamation(13)            ❑ A601 D Defamation (slander/libel)                                               1, 2, 3
  ~'~
   3~
   ~C ~
  - c                   Fraud (16)              ❑ A6013 Fraud (no contract)                                                       1, 2, 3
  c ~
  o~                                            ❑ A6017 Legal Malpractice                                                         1, 2, 3
  m             Professional Negligence (25)
  a R                                           ❑ A6050 Other Professional Malpractice (not medical or legal)                     1, 2, 3
  c E
  o ~a
  Zo
                         Other(35)              ❑ A6025 Other Non-Personal InjurylProperty Damage tort                            1, 2, 3


    c            Wrongful Termination (36)      ❑ A6037 Wrongful Termination                                                      1, 2, 3
    a~
    E
    0                                           ❑ A6024 Other Employment Complaint Case                                           1, 2, 3
    c.            Other Employment(15)
    E                                           ❑ A6109 Labor Commissioner Appeals                                                10
    w
                                                ❑ A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful        25
                                                        eviction)
                Breach of ContracU Warranty     ~ A6008 Contract/Warranty Bveach -Seller Plaintiff(no fraud/negligence)           2'S
                            ~06~
                      (not insurance)                                                                                             1, 2, 5
                                                ❑ A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                  1, 2, 5
                                                ❑ A6028 Other Breach of Contract/Warranty(not fraud or negligence)
    w                                                                                                                             5, 6, 11
    v
    R                                           ❑ A6002 Collections Case-Seller Plaintiff
                      Collections(09)
    c                                           ❑ A6012 Other Promissory Note/Collections Case                                    5, 11
    0
    v                                           ❑ A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                5, 6, 11
                                                        Purchased on or after Janua 1 2014
                  Insurance Coverage(18)        ❑ A6015 Insurance Coverage (not complex)                                          1, 2, 5, 8

                                                ❑ A6009 Contractual Fraud                                                         1, 2, 3, 5
                    Other Contract(37)          ❑ A6031 Tortious Interterence                                                     1, 2, 3, 5
                                                ❑ A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2, 3, 8, 9

                  Eminent Domain/Inverse        p A7300 Eminent Domain/Condemnation                Number of parcels              2, 6
                    Condemnation(14)
    F~
     as            Wrongful Eviction (33)       ❑ A6023 Wrongful Eviction Case                                                    Z.6
    a
    0
    n..                                                                                                                           2, 6
    ~v                                          ❑ A6018 Mortgage Foreclosure
     d
                  Other Real Property(26)       ❑ A6032 Quiet Title                                                               2. 6
                                                ❑ A6060 Other Real Property (not eminent domain, landlord/tenant,foreclosure}     2, 6

                Unlawful Detainer-Commercial ~ A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)                 6, 11
     a`~                    (31)
     c
    .~
                Unlawful Detainer-Residential   ~ A6020 Unlawful DetainervResidential (not drugs or wrongful eviction)            6, 11
     d                       32
     D
                     Unlawful detainer-          ❑ A6020FUnlawfu~ Detainer-Post-Foreclosure                                       2, 6, 11
                   Post-Foreclosure 34
                Unlawful Detainer-Drugs(38)      I_i A602Z Unlawful Detainer-C7rugs                                               2, ~, ~ ~



 LACIV 1d5(Ftev 2/16)              - _          C~diII~ CASE COVER ~HE~~ AD~E{~~'~I~                                            Local Rule 2.3

 LASC Approved 03-04                                AND Sl'ATEIIIlENT OF LOCATION                                                 Page 2 of 4
            Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 9 of 62 Page ID #:14


SHORT TITLE:                                                                                      CASE NUMBER
               Gary Salzman v. County of Los Angeles; DOES 1-50

                             ~{                                                         ~.                               C i~pp~irable
                   Civ~1 Case Crsuer Sti~ef                                        Type of At~i~n                    Reascsns-She Step 3
                         Cat~a}+ i~tt~.                                           {Check onfy oa~e)                         Ahove

                    Asset Forfeiture(05)         D A6108 Asset Forteiture Case                                       2, 3, 6


                  Petition re Arbitration (11)   ❑ A6115 Petition to Compel/ConfirmNacateArbitration                 2, 5
     3
     m
    .~
                                                 ❑ A6151 Writ -Administrative Mandamus                               2,$
    is
    .~                                           ❑ A6152 Writ -Mandamus on Limited Court Case Matter                 2
                    Writ of Mandate(02)
    a                                                                                                                2
                                                 ❑ A6153 Writ -Other Limited Court Case Review

                 Other Judicial Review(39)       ❑ A6150 Other Writ /Judicial Review                                 2, $


                Antitrust/Trade Regulation (03) ❑ A6003 Antitrust/Trade Regulation                                   ~ , 2. s
      c
      0
     :a..
      ca          Construction Defect(1 Q)       ❑ A6007 Construction Defect                                         1, 2, 3
     ::+
     J
                 Claims involving Mass Tort      ~ A6006 Claims Involving Mass Tort                                  ~, Z, 8
    ai
    x                       (40)
    c
    E
    0              Securities Litigation (28)    ❑ A6035 Securities Litigation Case                                  ~, 2. $
     v
     c                    Toxic Tort             ❑ A6036 Toxic Tort/Environmental                                    1, 2, 3, 8
    0
    .~                Environmental(30)
    .~
    0            Insurance Coverage Claims       p A6014 Insurance Coverage/Subrogation(complex case only)            1, 2, 5, 8
    a             from Complex Case (41)

                                                 ❑ A6141 Sister State Judgment                                       2, 5, 11

                                                 ❑ A6160 Abstract of Judgment                                        z.6
  .r ~..
   c c
   ~ ~                   Enforcement             ~ A6107 Confession of Judgment(non-domestic relations)               2,9
                       of Judgment(20)           ❑ A6140 Administrative Agency Award (not unpaid taxes)               2, 8
     -~a
   ~~..
                                                 D A6114 PetitionlCertificate fnr Entry of Judgment on Unpaid Tax     2,8
   ~ o
                                                 ❑ A6112 Other Enforcement of Judgment Case                           2, $, 9


                           RICO (27)             ❑ A6033 Racketeering (RICO)Case                                      ~ ~ 2. $

                                                 ❑ A6030 Declaratory Relief Only                                      ~ ~ z. $
    a~i `—°
        Q.
    R E
        o             Other Complaints           ~ A6040 Injunctive Relief Only (not domestic/harassment)             Z. $
    v V
    w —
                  (Not Specified Above)(42)      ❑ A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2, 8

   s̀ C.0                                        ❑ A6000 Other Civil Complaint(non-tort/non-complex)                  ~ , 2. 8

                   Partnership Corporation       p A6113 Partnership and Corporate Governance Case                    2. $
                      Governance (21)

                                                 ❑ A6121 Civil Harassment                                             z, 3~ 9

                                                 ❑ A6123 Workplace Harassment                                         2, 3, g
   m ~                                                                                                                2. 3, 9
   c                                              ❑ A6124 Elder/Dependent Adult Abuse Case
   m d                Other Petitions(Not
   ~, a              Spzcified Above)(43~        ❑ A6190 Election Contest                                             2
   v —
   N ~>
   ~i~                                            ❑ A6110 Petition for Change of Name/Change of Gender                z7

                                                  ❑ A6170 Petition for Relief from Late Claim Law                     2, 3, g
                                                     A6100 Other Civil Petition                                       2, g




                                                 ~~~~L- c►,A+~~ ~~°~~~ $~~~~ ~a~~~~~~~                              Local Rule 2.3
  LACIV 109(Rev 2/16)
  LASC Approved 03-04                                ABdD STA.TElVlENT OF LOCATIO(d                                   Page 3 of 4
        Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 10 of 62 Page ID #:15


 SHORT TITLE:                                                                         CASE NUMBER
                Gary Salzman v. County of Los Angeles; DOES 1-50


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                  ADDRESS:
   REASON:                                                        41029 172d St.
    ❑1.~2.❑3.❑4.~5.❑6.❑7. ❑8.❑ 9.❑10.0111.


   CITY:                                  STATE:     ZIP CODE:

   Lancaster                              CA         93535


Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL                          District of
           the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: 04/09/2021                                                               /s/ Gary Salzman
                                                                                  (SIGNATURE OF ATTORNEYlFILING PARTI~




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AfdD READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.
       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Courtin order to issue a summons.
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




  LACIV 109(f~ev 2/16)                   C~~OiL ~A~~ ~~VER ~h~EET ~1DD~~~I~~                                          ~.oca~ ~u~e 2.s
  LASG Approved 03-04                        ,4ND STATEMENT OF LOCATION                                                  Page 4 of 4
                       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 11 of 62 Page ID #:16


                                                                                                                                                                  Gregg,Depu Cierk
                                                                                             03:33 PM Sherri R. Carter, Executive Officer/Clerk of Court, by E.
:lectronically FI   D by Superior Court of California, County of Los Angeles on 04/2112021

              1 Gary Salzman
                Plaintiff
              2 41029 i72d St.
                Lancaster, CA 93535
              3 661-2d4-0906
              n

              5

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               7

               ~                                                SUPERIOR COURT OF CALIFORNIA
                                                            COUNTY QF LOS ANGELES,CENTRAL DISTRICT
               9                                                                                                                                     21STCV14966
                         Gaxy Salzman, individually and asSuccessor- ASE NO.:
              to         ~-~~erest to Gary A11en Salzman, Jr.(d,

              1~                                   Plaintiff,                                       LAINTIFF GARY SALZMAN C.C.P.
                                                                                                   X377.32 DECLARATION
              12
                                     vs.
              13
                         County of Lass Ange3.es; DOES 1 to 54,
              14
                                                  Defendants.
               15

               16 ~[

               17                 ~~ ~.~,~~~ declaxe as follows:
                                                                               Apri120, 2021.
               18 1. I am the Plaintiffin the above captioned action,filed
                                                                      Jr., deceased..
               ~9 2. ~ atn the father cif the late Gary Allen Salmau,
                                                                           cal Center(SEE ATTACHED EXHIBIT
                  3. The deceased died July O5,202Q at LA/USC Medi
               2Q                                                           ficate OfDeath.
                      #1,a;true and correct copy ofthe deceased's Certi
                                                                    for administration ofthe decedent's estate.
               ~} 4. No proceeding is now pending in California
                                                                   interest(as defined in Section 37?.11 ofthe
               ~ 5. T`he declarant is the decedent's successor in
                                                                             to the decedent's interest in the action or
               23     California Cade of Civii Praced~re }and succeeds
                             proceeding.
                  24
                                                                     camznence the action or proceedr~.g ar to be
                        6. Na o't'her pexsan has a superior right to
                  2S                                                            n or praceedin~-
                           ~ub~tat~zt~d f~zr t~~ de~~dent in the pending a~tica

                                                                                                               §377.32 T~ECLACiA.TI.ON
                                                        t'LAlI~FTdFF GARY St~LZ~Iv1AN C.C.P.
                                                                                                    _ 1_
     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 12 of 62 Page ID #:17



1           I, Gary Salzman, declare under penalty of perjury the foregoing is true and correct to the
2    best of my knowledge. Signed this 21St day of Apri12021, Lancaster, California.

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                                                                               Plaintiff, Gary S
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                          PLAIN'~`l~'~ GARY SAL~MAI~t C.C.F. §377.32 I7ECLARATIQN
                                                    - 2-
     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 13 of 62 Page ID #:18




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                      PLAINTIFF GARS:' SAI,GN[AN C.C.S'. §3'77.32 DECLARATION
                                                - 3-
                                       RECEIVED
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21  Page 04:55PM
                                                 ~1/26/2~21 14 of 62 Page ID #:19




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                                       V ~~
                  Case 2:21-cv-04604-PA-SK Document 1-1 Filedri06/04/21           Page 15 of 62 Page ID #:20
                                                               ft. Carter, Executive OfficerlCierk of Court, by R. Perez,Deputy Clerk
                                                                                       ~1~ 09.33 PM~S~iEr
_lectronically FILED by Superior Court of California, County of Los Angeles on 04/20/20 5 CV14 ati
                                                                                                                                 Lui
                                          Assigned for all purposes to: 5taniey Mosk Courthouse, Judicial Officer: Christopher                          D~ n_o~_nnq
            A7TdRNEY OR PARTY V~tlTHOUT ATTORNEY {Name, SFdte 5ar num6ar, and address):                                            FOR COURT USE OJYLY •               M ,~

            Gary Salzman
            41029172d Sfi.
            Lancaster, CA 93535

                     T~LEFHONE NO: 6~j'~'~$Q..~90£y                        FAX NO.(Optiana!):

            E-htAit. ADDRESS(Optional);
               ATTORNEY FOR flUame):

            SUPERIOR COURT OF CALIFORNIA,COUNTY OF L05 ANGELES
             Srtz~Taoor~ss:11~ NORTH HILL STREET
             a~a~uN~ noDREss:131 NORTH H14L STREET
            crrr Ewa z~P cQOE ~pS q{VGELES, CA 9012
                Ban~c~ Na~nE:GENTRRL DISTRICT COURTHOUSE
                                                                                                      n, Jr.(d.
               PLAIN3tFF:Gary Salzman, individualiV and as Successor-{n-Interest to Gary Allen Salzma
            DEFENDANT:Gpunfy of Lps A~geles;
           [~ DOES 1 TO 50
                                                                                                                    CASE NUMBER:
                                                                               Death
           COMPL.AINT--Personal injury, Property Damage, Wrongful
            Q AMENDED (Nut»berJ:
           Type (check all that apP►Y):
           [~ MOTOR 1fENiCLE            0O7HER (specify}.~{VIL RIGHTS
                C( ProEserty Barrage fix] Wrongful Death                                                ~ ~ ~T ~~ ,~ ~ ~~ ~
                Q Personal injury          [fix Qther C3amages(specify): N~GLlGENGE
            darisdictian (check a!!that apply):
                 ACTION !S A LIMITED CIVIL CASE
                  Amount demanded [~ dnes not exceed $10,OOQ
                                      ['~ exceeds $90,004, but does not exceed $25,000
                                                               eds $25,000)
           [~ AGTiOlV t5 AN UNUMfiTED CNIL CASE (exce
                                                     amend ed compla  int
           [~ A~7'[fll+E 4~ R~CLASS~FIED by this
                 ~,j from 4imit$d to     unlimi ted
                (~ from unlimited to limited                                                                               (deceased}
                                                                        as Successor-in-Interest to Gary Allen Satzman, Jr.
            1. Pl~lntiff(name or names): Gary Salzman, individuaity and
                                                               or names):
               alleges causes of action against defendant(name
                ~o€sntY of Los Angeles; doss 1 - 5Q
                                                         exhibits, consists of the following number of pages:
             2. This pleading, including atfachmants and
                                                       ent adult
             3. Each plainkiff named above is a compet
                a. ~ except p~aintifF {name):
                                                                             Catifomia
                         (1)[~ a corporation qual'sfied to da business in
                         (2j.0 an unincorporated      entity(descr ibe):
                          (3}~ a public entity (describe):
                          (4)[~ a minor ~ an adult                                                                                    ted
                                                                                         estate or a guardian ad iitem has been appoin
                                    (a}[,~] for whom a guardian or conssrvato~ of the
                                    fib} J~ other(specify):
                         [~ okher(specifyj:
                      (5):
                   b.0excep# plaintiff(name):
                                                                              nia
                      (1}[~ a corporation qualified to do business in Califor
                      {2)j~ an unincorporated entity(describe):
                      (3):~]a publio entity {describe):
                          [~ a minor ~]an adult
                       (4},                                                                                                     ted
                                                                                  estate or a guardian ad litem has been appoin
                               {aj~ for whom a guardian or conservator ofi the
                               (b)Q other(specify):
                               (5)[~ other{specify):
                                                                                                            Attachment 3.
                                                                 vuho ~-~ not ~ag~petent adults is shown in                                                         s~~~e g os ~
                        ~n{orma~ic~~ ~bdut ~dditi~nal plain~ifF~
                                                                                                                                                Cnde of Civil Procedure,§ 425.12
                                                                 ~~MS~LA9MTer~onal inJury, ~'roperty                                                           ~vw,courts,ca.gav
                 FormAPpfovedforQpGonattlse
                  ,~ua~agi ca,~cn~c 8,;r~a                                IDarraage, Wrongful C~eatF~
                t~~i-oo~ t~e~,3~~ua~y a,Zoom
       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 16 of 62 Page ID #:21

                                                                                                                          PLD-PI-001
SHORT TITLE:                                                                               casE rvuMseR:
Gary Salzman v. County of Los Angeles

4. ~ Plaintiff (name):
     is doing business under the fictitious name (specify):

          and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
  a. [fix except defendant(name): County of Los Angeles              c. ~ except defendant(name):
         (1)~ a business organization, form unknown                     (1) ~]a business organization, form unknown
             0a corporation
           (2)                                                          (2) ~]a corporation
             0an unincorporated entity (describe):
           (3)                                                          (3)~ an unincorporated entity (describe):


             0a public entity (describe):
           (4)                                                            (4)0a public entity (describe):
               Municipal entity
           {5)C]other(specify):                                           (5) ~x     other(specify):
                                                                                     UNKNOWN AT THIS TIME



   b. ~ except defendant(name): DOES 1 - 50                           d. 0except defendant(name):
       (1)~ a business organization, form unknown                        (1)~ a business organization, form unknown
              [~ a corporation
            (2)                                                          (2)[~ a corporation
              [~ an unincorporated entity (describe):
            (3)                                                          (3)0an unincorporated entity (describe):


            (4)~ a public entity (describe):                               (4)~ a public entity (describe):


            (5) ~x        other(specify):                                  (5}[~ other(specify):
                          UNKiVOWN AT THIS TIME
                                                                                          in Attachment 5.
         Information about additional defendants who are not natural persons is contained
6. The true names of defendants sued as Does are unknown to plaintiff.
                                                                                        were the agents or employees of other
   a.0Doe defendants (specify Doe numbers): 1- 50
                                                                         or employme  nt.
             named defendants and acted within fhe scope of that agency
                                                                                       are persons whose capacities are unknown to
   b. ~x Doe defendants(specify Doe numbers): 1 - 50
             plaintiff.
                                                                         382 are (names):
7.[~ Defendants who are joined under Code of Civil Procedure section




 8. This court is the proper court because
    a.0at least one defendant now resides in its jurisdictional area.
                                                                        unincorporated association is in its jurisdictional area.
    b. ~x the principal place of business of a defendant corporation or
                                                                          jurisdictional area.
    c. ~ injury to person or damage to personal property occurred in its
      d. C]other(specify):




 9. ~ Plaintiff is required to comply with a claims statute, and
    a. ~ has complied with applicable claims statutes, or
    b.0is excused from complying because (specify):




                                                                                                                                    Page 2 of 3
                                               ~OM~LAINT~--Personal Bnjury, Property
  PLD-PI-001 [Rev. January 1, 2007]
                                                     Da~a~~9 VVrean~ful ~~ath
       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 17 of 62 Page ID #:22

                                                                                                                                  PLD-PI-001
SHORT TITLE:                                                                                   case NunneeR:
Gary Salzman v. County of Los Angeles

10.The following causes of action are attached and the statements above apply to each (each complaint must have one or more
   causes of action attached):
a. 0Motor Vehicle
b. 0General Negligence
c. ~ Intentional Tort
d. ~ Products Liability
e. ~ Premises Liability
f, 0Other(specify):
    CIVIL RIGHTS VIOLATIONS; WRONGFUL DEATH



11. Plaintiff has suffered
a. ~ wage loss
b. 0loss of use of property
c. ~ hospital and medical expenses
d.0general damage
e. 0property damage
f. ~ loss of earning capacity
g. ~x other damage (specify):
      Special Damages


12. x~ The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
   a. C]listed in Attachment 12.
   b. ~ as follows:
                                                                                                                  and support,
          Plaintiff has been and will forever be deprived of GARY, JR's love, affection, society, companionship
                                                                                                             damages according to
          suffered severe mental anguish, severe emotional distress and financial losses all to Plaintiffs
          proof at trial. Plaintiff has incurred funeral and cremation expenses according to proof at trial.



13. The relief sought in this complaint is within the jurisdiction of this court.
    $25,000.00+



                                                                                                         for
14. Rlaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and
    a. (1)~ compensatory damages
         (2)~ punitive damages
                                                                                                             (1)):
          Tha amount of damages is (in cases for persona!injury or wrongful death, you must check
         (1) Cfx according to proof
         (2)0in the amount of: $
                                                                                                            paragraph numbers):
15.~The paragraphs of this complaint alleged on information and belief are as follows (specify



 Date: 04/09/2021
                                                                                               /s/ Gary Salzman
 Gary Salzman                                                                                         (SIGNATURE OF PLAINTIFF OR ATTORNEY)
                              (TYPE OR PRINT NAME)
                                                                                                                                        Page3of3
 PlD-PI-001 (Rev. January 1, 2007]                   ~°~~~~~~~~`~°'~~~~~~~' ~"~l~~+ ~~~~~~y
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       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 18 of 62 Page ID #:23

                                                                                                                                 PLD-Pi-001f31

 SHORT TITLE:                                                                                     CASE NUMBER
 Gary Salzman v. County of Los Angeles


1 {Wrongful death)                        CAUSE 4F ACTI4N—Intentional Tort                                           Page
           (number)

ATTACHMENT TO 0Complaint                      ~ Cross-Complaint

  (Use a separate cause of acfion form for each cause of action.)
   IT-1. Plaintiff(name): Gary Salzman, individually and as Successor-in-Interest to Gary Allen Salzman, Jr. (deceased)
           alleges that defendant {name):County of Los Angeles


           0Does 1                              to 50
                                                                                                                        intentionally
           was the legal (proximate)cause of damages to plaintiff. By the following acts or omissions to act, defendant
           caused the damage to plaintiff
          on (date): July 05, 2020
          at (place): Twin Towers Jail, 450 Bauchet St. Los Angeles CA 90012

          (description ofreasons for liability):
           1. The deceased, Gary Allen Salzman, Jr. was arrested on or about June 22, 2020.
                                                                                                                 90012.
           2. The deceased was eventually housed at Twin Towers Jail, 450 Bauchet St. Los Angeles CA
           3. The deceased was murdered in       his jail cell by another inmate July 05, 2020.
                                                                                                                 Examiner -Coroner, Autopsy
           4. A true and correct copy of the July 09, 2020, County of Los Angeles, Department of Medical
              Report is attached to Plaintiffs verified complaint as Exhibit #1.
                                                                                                        County.
           5. The deceased was born and raised in the greater Antelope Valley area, Los Angeles
           6. The deceased was a veteran      of the  United   States Army and suffered  from PTSD.
                                                                                                              Los Angeles area where he
           7. The deceased achieved his Associate of Arts in Culinary Arts and relocated to the greater
               worked as a Chef.
                                                                                                  the notoriously dangerous general
           8. The deceased was an openly gay man and was terrified for his safety amongst
                                                                                                   the by the Los Angeles Superior Court on
               population. He did not want to leave his cell and an extraction order was issued
               June 26, 2020.
                                                                                                     nce by the Las Angeles Superior Court.
           9. On June 29, 2020 the deceased was denied to be released on his own recogniza
                                                                                               appointin g a psychiatrist or psychologist
            10. On July 02, 2020 an Order was signed by the Los Angeles Superior Court
                to the deceased pursuant to California Evidence Code §§730, 952.
            11. The deceased was murdered in his jail cell by another inmate July 05, 2020.
            12. On August 11, 2020 alt charges against the deceased were dismissed.
                                                                                       employees, the Los Angeles County Sheriff's
            13. At or about the aforementioned time, date and place, Defendants
                Department, intentionally and negligently and recklessly allowed      the deceased to have his throat crushed by another
                 inmate.
                                                                                               and DOES 1 to 50 were committed during the
             14. All acts and ommissions by the Los Angeles County Sheriff's Department
                                                                                                              and DOES 1 to 50.
                 course and scope of their employment by and for Defendant the County of Los Angeles
                                                               employee  s failed to act reasonabl y in protecting the deceased from harm
             15. The Defendant and DOES 1 to 5Q and their
                                                                                                  cause of this reckless indifference by
                 and to obtain medical care reasonably quickly and as a direct and proximate
                                                                                                         and left on the jail cell floor to die.
                 Defendant the deceased was violently murdered at the infamous Twin Towers Jail
                                                                                           acts and ommissions the deceased"s father,
             16. As a legal and proximate cause of the Defendants and DOES 1 to 50
                                                                                            affection and companionship and support, all to
                 Plaintiff Gary Allen Salzman, will be deprived of his son's love, society,
                 damages according to proof at trial.
                                                                                   1       acts and ommissions the deceased"s father,
             17. As a legal and proximate cause of the Defendants and DOES to 50
                  Plaintiff Gary Allen Salzman also incurred funeral and cremation expenses

                                                                                                                                                Page 1 of 1
                                                                                                                            Code of Civil Procedure § 425.12
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     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 19 of 62 Page ID #:24

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SHORT TITLE:                                                                                    case NunnBeR:
Gary Salzman v. County of Los Angeles; DOES 1 to 50

 2(Negligence)                           CAUSE OF ACTION—General Negligence                                            Page
                (number)

  ATTACHMENT TO0Complaint                      0Cross-Complaint

 (Use a separate cause of action form for each cause of action.)
  GN-1.Plaintiff(name): Gary Salzman

          alleges that defendant(name): County of Los Angeles

          ~x       Does          1                  to 50

           was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
           negligently caused the damage to plaintiff

          on (date): July 05, 2020

          at (place):Twin Towers Jail, 450 Bauchet St., Los Angeles, CA 90012

          (description of reasons for liability):
                                                                                                                       including all exhibits.
            1. Plaintiff incorporates all prior paragraphs and pages allegations as the though fully set forth herein,
            2. The deceased, Gary Allen Salzman, Jr. was arrested on or about June 22, 2020.
                                                                                                             CA 90012.
            3. The deceased was eventually housed at Twin Towers Jail, 450 Bauchet St. Los Angeles
                                                                                                            the  exclusive care and
            4. The deceased was murdered in his jail cell by another inmate July 05, 2020 whiei under
               supervision of Defendants.
                                                                                                 of Medical Examiner -Coroner,
            5. A true and correct copy of the July 09, 2020, County of Los Angeles, Department
               Autopsy Report is attached to Plaintiffs verified complaint as Exhibit #1.
                                                                                                      are in the jail's custody.
            6. Defendant's jail and its employees owes a special duty of care to inmates when they
                                                                                            s jail officials.
            7. The deceased mental and physical condition was not screened by Defendant'
                                                                                                   to care for the deceased health,
            8. Because the deceased was deprived of his liberty, it becomes the duty of the jailer
               safety, and welfare.
                                                                                           that is nondelegable. "That, therefore, is the
             9. The duty owed is a special affirmative duty to the deceased (inmate), one
                                                                                                       relationship between jailer and
                background against which we reach the issue before us: whether there is a special
                                                                                                      (Giraldo v. Department of Corrections
                prisoner, imposing on the former a duty of care to the latter. We hold that there is.
                & Rehabilitation (2008) 168 Cal.App.4th 231, 250.)
                                                                                                 and subsequently murdered while in the
             10. The deceased in no way shape or form consented to have his throat crushed
                 exclusive care, custody and control of Defendant and DOE5 1 to 50.
                                                                                                     d gang problems wihtin Los Angeles
             11. Given the documented violent reputation of the Twin Towers Jail, the documente
                                                                                                   it was reasonably foreseeable the
                 County and documented wrongful conduct of the Defendant and DOES 1 to 50
                                                                                           Twin Towers   Jaii.
                 deceased would succumb to violence and/or death while housed at the
                                                                                             recently enacted PREA and SADEA show,
             12. "it is manifestly foreseeable that an inmate may be at risk of harm, as the
                                                                                                         t."(Giraldo v. Department of
                  recognizing the serious problem presented by sexual abuse in the prison environmen
                   Corrections &Rehabilitation, Ibid.)
                                                                                                    to risks arising out of the actor's own
              13. The duty to protect the deceased against unreasonable risk of harm extends
                                                                                                           forces of nature or animals, or from
                  conduct, or the condition of his land or chattels. It extends also to risks arising from
                                                                                                 or even  criminal.
                  the acts of third persons, whether they be innocent, negligent, intentional,
                                                                  described   herein the deceased    would still be alive and therefore are the
              14. But for Defendant and DOES 1 to 50 conduct
                                                                                                  Salzman, Jr.
                  legal and proximate cause of Plaintiffs lo~~ of his beloved son, Gary Allen
                                                                                                                                              Page 1 of 1
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                                                                                             case NUMseR:
SHORT TITLE:
   Gary Salzman v. County of Los Angeles; DOES 1 to 50
                                                      ATTACHMENT (Number): 1
                                   (This Attachment maybe used with any Judicial Council form.)

15. One does not ordinarily die in prison absent extreme and outrageous recklessness and/or extreme
    oppression.
16. Just reading the Los Angeles County Coroner's Report Plaintiff obtained late January 2021 has caused,
    and continues to cause, Plaintiff extreme emotional distress and the Report haunts this Plaintiff everyday
    since.
17. The Defendant and DOES 1 to 50 extrajudicial killing of my son while in their sole custody and control
    has caused Plaintiff extreme emotional distress and pain and suffering beyond description.
                                                                                                                this
18. I cannot even begin to imagine the horror my son must have felt as he was murdered in a jail cell and
    causes me extreme emotional distress and pain.
                                                                                                                son
19. The Defendant and DOES 1 to 50 intentionally reckless and malicious conduct in allowing Plaintiffs
    to be the subject of an extrajudicial killing has cause the severest of emotional distress to Plaintiff and
    damaged him permanently psychologically and physically.
20. The recklessness of Defendant and DOES 1 to 50 shows a sick indifference towards inmates and their
    families housed in Twin Towers Jail. Every prisoner has a family, a mother and father who still loves
    him and cares deeply about their loved ones health and welfare, independent of their incarceration.
                                                                                                               from
21. The deceased, who was openly homosexual and suffered from extreme PTSD, was never segregated
    the general jail population.
                                                                                                        necessary
22. As a direct and proximate cause ofthe negligence, acts and ommissions, including reasonably
                                                                                                           nt
    immediate medical care for the DECEDENT,of Defendant and DOES 1 to 50(under Governme Code
    § 815.2)herein described, and breach of duty owed by all Defendants, DECEDENT was caused to suffer
    severe pain and suffering and ultimately died by homicide(SEE PLAINTIFF's EXHIBIT #1).
                                                                                                              has
23. As a direct and proximate result ofthe negligence, acts and omissions herein described of Plaintiff
    suffered extreme and severe mental anguish and has been injured in mind and body.
                                                                                                        ,
24. Plaintiff also has been deprived of the life-long love, companionship, comfort, care, assistance
                                                         of DECEDE   NT,  and  will continue  to be so deprived  for
     protection, affection, society, and moral support
     the remainder of their natural lives, all to Plaintiffs damages according  to proof at trial.
                                                                                                          to § 815.2
25. The Defendant is vicariously liable for the wrongful acts of Defendant DOES 1 to 50 pursuant
                                                                                                          caused by
     of the California Government Code, which provides that a public entity is liable for the injuries
                                                                                                          subject
     its employee Sheriff Deputies within the scope ofthe employment if the employee's act would
     him or her to liability.
26. The negligence ofthe said Defendants and DOES 1 to 50 proximately caused personal injuries,
     emotional damages, funeral costs, and damages to Plaintiff.




                                                                      perjury, all sfa~cments in this        ~~~«    1        ~~      1
(If the item that this Attachment concerns is made under penalty of
Attachment are made under penalty of perjury.)                                                              (Add pages as required)
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  Judicial Council of California
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        Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 21 of 62 Page ID #:26

                                                                                                                                 PLD-PI-001(3)

 SHORT TITLE:                                                                                     CASE NUMBER
 Gary Salzman v. County of Los Angeles; DOES 1 to 50

3(Cal. Civ. Code §51.7)                         CAUSE QF ACTION—intentional Tort                                     Page
               {number)

ATTACHMENT TO                 Ox        Complaint   0Cross-Complaint
   (Use a separate cause of action form for each cause of action.)

    IT-1. Plaintiff(name): Gary Salzman
           alleges that defendant(name):County of Los Angeles


             ~x       Does 1                         to 50
                                                                                                                              intentionally
           was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
           caused the damage to plaintiff
           on (date): July d5, 2020
           at (place): Twin Towers Jail, 450 Bauchet St., Los Angeles, CA 90012

           (description of reasons for liability):                                                                                all exhibits.
             1. Plaintiff incorporates all prior paragraphs and pages allegations as the though fully set forth herein, including
             2. The deceased, Gary Allen Salzman, Jr. was arrested on or about June 22,      2020.
             3. The deceased was eventually housed at Twin Towers Jail, 450 Bauchet St. Los Angeles CA 90012.
                                                                                                                                and
            4. The deceased was murdered in his jail cell by another inmate July 05, 2020 while under the exclusive care
                supervision of Defendants.
                                                                                                                  Examiner -Coroner,
             5. A true and correct copy of the July 09, 2020, County of Los Angeles, Department of Medical
                Autopsy Report is attached to Plaintiffs verified complaint as Exhibit    #1.
                                                                                                                                 Ralph and
             6. Defendant and DOES 1 to 50 are not immune under Gov. Code § 820.8 from claims that they violated the
                                                                                                                                    of inmates'
                Bane Acts by failing to implement adequate policies and failing to train his staff sufficiently to avoid violations
                rights.
                                                                                                                           1 50. The civil
             7. The deceased was murdered while under the exclusive custody and control of Defendant and DOES to
                                                                                                                                       and
                right, or right to live and familial contact, is an unequivocable right that the deceased had violated by Defendant
                DOES 1 to 50.
                                                                                                                               care were/was
             8. Defendant and DOES 1 to 50 failure to act and to call a supervisor and to obtain reaosnably quick medical
                the legal and proximate caused of DECEDENT's death         through homicide.
                                                                                                                               population, is
             9. Because of spacing and the lack of programming at Defendant's jail, the mentally unstable and dangerous
                                                                                                                               of a gang or of
                housed amongst a general inmate population that is inherently dangerous to those inmates not a member
                a different race.
                                                                                                              in the United States Army and
             10. The DECEDENT, who was openly homosexual and suffered from PTSD from his service
                                                                                                                  herein and in being housed
                 Guard, was recklessly endangered by Defendant and DOES 1 to 50 as previously described
                 with a violent and dangerous felon, inmate.
                                                                                                                       Angeles County
             11. Defendant failed to adequately prescreen, train, supervise, oversee and monitor Defendants Los
                                                                                                                          to dangeorus
                  Sheriffs Department and as a direct and proximate result DECEDENT was unnecessarily subjected
                  conditions ultimately resulting in his death.
                                                                                                                  supervised, oversee and
             12. Defendant and DOES 1 to 50 are in no way shape or form adequately prescreened, trained,
                                                                                                               Twin Towers Jail proclivity for
                  monitor the country's largest mental health facility, the Twin Towers Jail. To the contrary,
                                                                                                             in the prosecution of former-
                  violence by Defendant and their employees is thoroughly documented and has resulted
                                                                                                                                                page 1 of 9
                                                                                                                           Cade of Civil Procedure § 425.12
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       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 22 of 62 Page ID #:27

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                                                                                                 CASE NUMBER
 SHORT TITLE:
 Gary Salzman v. County of Los Angeles; DOES 1 to 50

3(CaL Civ. Code §51J)                    CAUSE OF ACTION—Intentional Tort                                           Page
              (number)

ATTACHMENT TO               ~ Complaint 0Cross-Complaint
   (Use a separate cause of action form for each cause of action.)

   IT-1. Plaintiff (name): Gary Salzman
           alleges that defendant(name):County of Los Angeles


            [fix     Does                      to 50
                                                                                                                             intentionally
           was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
           caused the damage to plaintiff
          on (date): July 05, 2020
           at (place): Twin Towers Jail, 450 Bauchet St., Los Angeles, CA 90012

          (description of reasons for liability):                                                                                all exhibits.
            1. Plaintiff incorporates all prior paragraphs and pages allegations as the though fully set forth herein, including
            2. The deceased, Gary Allen Salzman, Jr. was arrested on or about June      22, 2020.
            3. The deceased was eventually housed at Twin Towers Jaii, 450 Bauchet St. Los Angeles CA 90012.
                                                                                                                          care and
           4. The deceased was murdered in his jail cell by another inmate July 05, 2020 while under the exclusive
               supervision of Defendants.
                                                                                                                 Examiner -Coroner,
            5. A true and correct copy of the July 09, 2020, County of Los Angeles, Department of Medical
               Autopsy Report is attached to Plaintiffs verified complaint as Exhibit #1.
                                                                                                                   violated the Ralph and
            6. Defendant and DOES 1 to 50 are not immune under Gov. Code § 820.8 from claims that they
                                                                                                               to avoid viola4ions of inmates'
               Bane Acts by failing to implement adequate policies and failing to train his staff sufficiently
                rights.
                                                                                                              and DOES 1 to 50. The civil
             7. The deceased was murdered while under the exclusive custody and control of Defendant
                                                                                                          had violated by Defendant and
                right, or right to live and familial contact, is an unequivocable right that the deceased
                DOES 1 to 50.
                                                                                                                 quick medical care were/was
             8. Defendant and DOES 1 to 50 failure to act and to call a supervisor and to obtain reaosnably
                the legal and proximate caused of DECEDENT's death through homicide.
                                                                                                                and dangerous population, is
             9. Because of spacing and the lack of programming at Defendants jail, the mentally unstable
                                                                                                                 not a member of a gang or of
                housed amongst a general inmate population that is inherently dangerous to those inmates
                a different race.
                                                                                                  his service in the United States Army and
             10. The DECEDENT, who was openly homosexual and suffered from PTSD from
                                                                                                                  herein and in being housed
                 Guard, was recklessly endangered by Defendant and DOES 1 to 50 as previously described
                 with a violent and dangerous felon, inmate.
                                                                                                     Defendants Los Angeles County
             11. Defendant failed to adequately prescreen, train, supervise, oversee and monitor
                                                                                                           ily subjected to dangeorus
                  Sheriffs Department and as a direct and proximate result DECEDENT was unnecessar
                  conditions ultimately resulting in his death.
                                                                                           prescreened, trained, supervised, oversee and
             12. Defendant and DOES 1 to 50 are in no way shape or form adequately
                                                                                                     contrary, Twin Towers Jail proclivity for
                  monitor the country's largest mental health facility, the Twin Towers Jail. To the
                                                                                               has resulted in the prosecution of former-
                  violence by Defiendant and their employees is thoroughly documented and
                                                                                                                                              page 1 of 9
                                                                                                                          Code of Civil Procedure § 425.12
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                                                                                             case NUMBER:
SHORT TITLE:
  Gary Salzman v. County of Los Angeles; DOES 1 to 50
                                                         ATTACHMENT (Number): 1
                                     (This Attachment maybe used with any Judicial Council form.)

 12.(cont.) -Los Angeles County Sheriff Lee Baca.
                                                                                                  ENTS personal
 13. Defendant and DOES 1 to 50 recklessly and intentionally interfered with the DECED
                                                                                                     population and
     safety and life in their failure to properly supervise, maintain and document the inmate
                                                                            resulte d in DECED     ENTS    homicide.
      proximity ofinmates with mental health issues to one another that
                                                                                              vely  intoler able risk of
 14. Defendant and DOES 1 to 50 knowingly and unreasonably disregarded an objecti
                                                                                            facility, then any where
      harm in housing more mental health patients in a single jail, not a mental health
                                                                do so to the danger   of all others.
      else in the United States, and that they will continue to
                                                                             ment   rights  and  jail officials, acting
 15. Defendant and DOES 1 to 50 violated DECEDENTs Eighth Amend
                                                                                        tial risk of serious damage
      with deliberate indifference, exposed a DECEDENT to a sufficiently substan
                                                                                            source or multiple
      to his future health, and it does not matter whether the risk comes from a single
                                                                                                   for reasons personal
      sources, any more than it matters whether an inmate faces an excessive risk of attack
      to him or because all inmates in his situation face such a risk.
                                                                                  t,        assistance, protection,
 16. Plaintiff has been deprived of the life-long love, companionship, comfor care,
                                                                                          so deprived for the
      affection, society, and moral support of DECEDENT,and will continue to be
                                                                                        at trial.
      remainder of their natural lives, all to Plaintiffs damages according to proof
                                                                     Defend  ant DOES     1 to 50 pursuant to § 815.2
  17. The Defendant is vicariously liable for the wrongful acts of
                                                                                  is  liable for the injuries caused by
      ofthe California Government Code, which provides that a public entity
                                                                                   employ   ee's   act would subject
      its employee Sheriff Deputies within the scope ofthe employment if the
       him or her to liability.
                                                                                    Plaintiffs harm.
  18. Defendant and DOES 1 to 50 conduct was a substantial factor in causing
                                                                           damage  s  but a minimum of $4,000 for
  19. Civil Code §52(a) provides for damages up to three times actual
                                                                                Code section 52(b) provides for
       violations of Civil Code section 5 I (Unruh Act), 51.5, and 51.6. Civil
                                                                                        51.9. Neither subsection of
       punitive damages for violations of CivilCode sections 51.7(Ralph Act) and
                                                                                eless, the reference to section 52
       Section 52 mentions the Bane Act or Civil Code section 52.1. Neverth
                                                                                 may be recovered under both
       insubsection(b)ofthe Bane Act would seem to indicate that damages
       subsections(a)and(b} of section 52.
                                                                                tly dangerous conditions ofthe said
  20. The negligence in failing to protect the DECEDENT from the inheren
                                                                                        nal damages, statutory
       Defendants and DOES 1 to 50 proximately caused personal injuries, emotio
       damages,funeral costs, and damages to Plaintiff.




                                                                                                             ~~g~    l        ~~       1
                                                    under penalty of perjury, all stat~r~;ents in thrs
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        Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 24 of 62 Page ID #:29

                                                                                                                                  PLD-PI-001(3)
                                                                                                    CASE NUMBER
 SHORT TITLE:
 Gary Salzman v. County of Los Angeles; DOES 1 to 50

4(42 U.S.C. §1983)                              CAUSE OF ACTION—Intentional Tort                                       Page
              (number)

ATTACHMENT TO                Ox         Complaint   0Cross-Complaint
   (Use a separate cause of action form for each cause of action.)

    IT-1. Plaintiff(name): Gary Salzman
           alleges that defendant(name):County of Los Angeles


             [fix     Does 1                         to 50
                                                                                                                                intentionally
           was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
           caused the damage to plaintiff
           on (date): July 05, 2020
           at (place): Twin Towers Jail, 450 Bauchet St., Los Angeles, CA 90012

           (description of reasons for liability):                                                                                all exhibits.
             1. Plaintiff incorporates all prior paragraphs and pages allegations as the though fully set forth herein, including
             2. The deceased, Gary Allen Salzman, Jr. was arrested on or about June 22, 2020.
             3. The deceased was eventually housed at Twin Towers Jail, 450 Bauchet St. Los Angeles CA 90012.
                                                                                                                                and
            4. The deceased was murdered in his jail cell by another inmate July 05, 2020 while under the exclusive care
                 supervision of Defendants.
                                                                                                                            -Coroner,
             5. A true and correct copy of the July 09, 2020, County of Los Angeles, Department of Medical Examiner
                  Autopsy Report is attached to Plaintiffs verified complaint as Exhibit #1.
                                                                                                                               cannot meet any
             6.   Defendant and DOES 1 to 50 conduct and actions as allege dherein were malicious and reckless and
                  objective good faith standard under the alleged facts.
                                                                                                                              1 to 50. The civil
             7.   The deceased was murdered while under the exclusive custody and control of Defendant and DOES
                                                                                                                had  violated and all
                  right, or the right to live and familial contact, is an unequivocabie right that the deceased
                                                                                                                      ble privations.
                  DEFENDANTS failed to prevent inmate violence and subjected the DECEASED to impermissi
                                                                                          and  to obtain reasonably quick  medical care were/was
             8.   Defendant and DOES 1 to 50 failure to act and to call a supervisor
                  the legal and proximate caused of DECEDENT's death through homicide.
                                                                                                                                    population, is
             9.   Because of spacing and the lack of programming at Defendant's jail, the mentally unstable and dangerous
                                                                                                                                    of a gang or of
                  housed amongst a general inmate population that is inherently dangerous to those inmates not a member
                a different race.
                                                                                                        in     United States Army and
             10. The DECEDENT, who was openly homosexual and suffered from PTSD from his service the
                                                                                                described  herein and in being housed
                 Guard, was recklessly endangered by Defendant and DOES 1 to 50 as previously
                 with a violent and dangerous felon, inmate.
                                                                                                        unnecessary and wanton
             11. Defendant and DOES 1 to 50 deliberate indifference to these happenings constitutes the
                  infliction of pain proscribed the Eighth Amendment.
                                                                                                  violence and sexual assaults at Twin
             12. The DECEASED and fellow inmates lived in constant and imminent fear of physical
                  Towers Jail.
                                                                                               reasonably foreseeable the
             13. As a direct and proximate cause of Defendant and DOES 1 to 50 conduct it was
                                                                                                        of the Defendants.
                  DECEASED could be murdered while in the exclusive control, management and custody
                                                                                                DECEASED was harmed, to wit:
             14. Through Defendant and DOES 1 to 50 failure to afford reasonable protection the
                                                                                                                                                 Page 1 of 1
                                                                                                                             Code of Civil Procedure § 425.12
    Form Approved for Optional Use                                                                                                          w~vw.courEs.ca.gov
      Judicial Council ofGalifomia                      ~,~[,~~(~~ ~~`'~''~~—~Iryt~~'y~jpp~~~ ~~~
  PLD-PI-001(3)[Rev. January 1, 200%]




                                                                           ~W
     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 25 of 62 Page ID #:30
                                                                                                                             MC-025
                                                                                              case NunneeR:
SHORT TITLE:
  Gary Salzman v. County of Los Angeles; DOES 1 to 50
                                                      ATTACHMENT (Number): 1
                                                                                           form.)
                                     (This Attachment maybe used with any Judicial Council
                                                                          trauma- a homicide.
 14. (cont.) -sequelae of manual strangulation and blunt force
                                                                       erate indifference unreasonably disregarded an
 15. Defendant and DOES 1 to 50 knowingly and with delib
                                                                           l health patients in a single jail, including
      objectively intolerable risk of harm in housing more menta
                                                                         e else in the United States, and that Defendant
      DECEDENT,not a mental health facility, then any wher
                                                                          all others. This has been the case for over a
      and- DOES 1 to 50 will continue to do so to the danger of
                                                                                 es, and especially DECEDENT,
      decade and shows intentional, reckless indifference to the inmat
                                                                             long term intentional indifference.
      constitutional rights and is the natural consequence of such
                                                                     Eighth Amendment rights and jail officials, acting
 16. Defendant and DOES 1 to 50 violated DECEDENTs
                                                                              ciently substantial risk of serious damage
      with deliberate indifference, exposed DECEDENT to a suffi
                                                                       risk comes from a single source or multiple
      to his future health, and it does not matter whether the
                                                                            an excessive risk of attack for reasons personal
      sozarces, any more than it matters whether an inmate faces
                                                                        a risk.
      to him or because all inmates in his situation face such
                                                                 Eight   h Amendment, long before the relevant
  17. It has been both a settled and first principle of the
                                                                           are constitutionally repugnant if they are
       2020-2021 period in the instant case, that penal measures
                                                                      that mark the progress of a maturing society,' or jif
       incompatible with 'the evolving standards of decency
                                                                     of pain.' Estelle v. Gamble(1976)429 U.S. 97
       they]'involve the unnecessary and wanton infliction
                                                                      sexual assaults by inmates upon the DECEDENT
      (citations and footnotes omitted). Violent attacks and
                                                                       with contemporary standards of decency.
       while in Twin Towers Jail are manifestly inconsistent                                                                    it
                                                                  of Holt v. Sarver(8th Cir. 1971)442 F.2d 304, 308,
  18. Moreover,in the highly publicized landmark case
                                                                      are entitled to protection from the assaults of other
       was held that under the Eighth Amendment prisoners
       prisoners.                                                                                                           and
                                                              2020 - 2021 period had crystallized in DECEDENT's
  19. Since constitutional developments prior to the                                                                  spher e of
                                                                       have known that their actions within the
       Plaintiffs favor, Defendant and DOES 1 to 50 should
                                                                      's constitutional rights, including their deliberate
       their official responsibility would violate DECEDENT
                                                                    gang member and violent, convicted felon with
       indfference in housing DECEDENT with a known
        extreme mental health issues.
                                                               a homosexual male in a cell with an "aggressive
   17. Defendant and DOES 1 to 50 decision to place                                                                             the
                                                                          'S death, was and is deliberate indifference to
        heterosexual,"just prior to, and resulting in DECEDENT
        DECEDENT's personal security.                                                                                         ,
                                                                 companionship, comfort, care, assistance, protection
   18. Plaintiff has been deprived ofthe life-long love,                                                   ved  for  the
                                                                  NT,and will continue to be so depri
        affection, society, and moral support of DECEDE
                                                                       ges according to proof at trial.
        remainder of their natural lives, all to Plaintiffs dama                                                           815.2
        The   Defe ndan t is vicar iousl y liabl e for the wron gful acts of Defendant DOES 1 to 50 pursuant to §
   19.                                                                                                                            by
                                                                      that a public entity is liable for the injuries caused
        ofthe California Government Code, which provides                                                  act  woul  d subje  ct
                                                                        employment if the employee's
        its employee Sheriff Deputies within the scope of the
         him or her to liability.
                                                             substantial factor in causing Plaintiffs harm.
   20. Defendant and DOES 1 to 50 conduct was a                                                                        ssive
                                                            to Defendant and DOES 1 to 50 reckless and oppre
   21. Plaintiff is entitled to punitive damages due                                               NT  and  other s.
                                                                         cted rights of DECEDE
         conduct and callous indifference to the federally prote
                                                               inher ently   dangerous conditions of the said Defendant and
    22. In failing to protect the DECEDENT from the                                                                       al
                                                                  ies, emotional damages, statutory damages,funer
         DOES 1 to 50 proximately caused personal injur                                                              proof  at
                                                                  nship and damages to Plaintiff according to
         costs, loss offamilial contact, love and companio
         trial.
                                                                                                                F~age _ 1       of ~_14
                                                     ur~r~er~ penalty of perjury, all sf~fements in this
  (lf the item that this Attachment concerns is made
                                                                                                              (Add pages as required)
  Attachment are made under penalty of perjury.)
                                                                                                                        www.courtinfo.ca.gov
  FoimApprovedforOptionalUse                                  ATTACHMENT
    Judicial Council of California
     MC-025(Rev. July 1, 2009]
                                                         to Judicial Council Form

                                                                         ~~
       Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 26 of 62 Page ID #:31




11                                            VERIFICATION
                                                                                               exhibits I
21           I, Gary Salzman, am the Plaintiff in this case. I have read the complaint and its
                                                                                        knowledge, the
3      have prepared. I am familiar with the contents of both. Based on my

4
       complaint's allegations are true.
                                                                                           that the
              I declare under penalty of perjury under the laws of the State of California
5
       foregoing complaint is true and correct.
6

7             DATED: Apri109, 2021

8                                                                                 Plaintiff, Gar S
9

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                                                   VERIFICATION
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 27 of 62 Page ID #:32




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  26                                 ~X~llblt #1
  27

  28

                                          Exhibit #1

                                              ~~
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 28 of 62 Page ID #:33

   COUNTY OF LOS ANGELES
   DEPARTMENT OF
   MEDICAL EXAMINER-CORONER

                                                                          CC#2020-05985
                                STATE OF CALIFORNIA
                               COUNTY (JF LOS ANGELES                     Salzman Jr, Gary Allen
                           IN THE iv1ATTER OF THE DEATH OF




   The Medzcal Examiner- Coroner ofthe County of Los Angeles Certifies:
   That an the 09th day of July, 2020, in accordance with the law, he inquired into the
   circumstances surroundinb the death of the above-mentioned person, caused an
   examination and identification to be made of the body aid found that the deceased was
   named.
                    Gary Allen Salzman Jr


   a MALE ~,ale about 43 years; that HEM came to HIS Q death on the Oath day of
   July, 2020 at:
                    Lac!Usc Medical Center

                    2~~ 1 Marengo Street

                    Los Angeles, California 90433


   Los Angeles County, California; and that was caused by:
                 Sequelae Of manual Strangulation Blunt Farce Trauma

                    Mode: Homiczde




                                                                      ~e~~i~ie~ co~~r t~f ~l~~ r~Cord
   Given under my hand this 25th day of January, 2021 ~hi~ i5 ~ frt~~
                                                        i~ i~ ~ear~ the seal o~ the ~epar~t~~~nt a~
    By.             Delia Flores                         ~,9~d'sC~i E~~~mitl~t' ~ ~t~YC~~t~~°                     ~,.,v ,<.,..;
                                                         ~m ~rir~t~d ie~ ~~r~i~:~.. ►r~~<.                    ~.5 ,      .;^°
            Deput~Coroner,Please Print

                                                                                                                                        a
                          ~

                Si~x~atur~, Please Sign                     :y F~,~~~N                   ~:~:.,.,..,,~~ .:.
                                                                                                                                  ~:~

    a~,ig                                                D~~'A~T~hk~NTO~ M~~I~,~L~X1;~i!?~~f3-~t~~~t`~~1r~=~
             Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 29 of 62 Page ID #:34
                                                                                                 ~EPARTMEtJT OF MEDICAL EXAMINER-CORONER
COUNTY OF L05 ANGELES



                                 AUTOPSY REPORT                                                  N~.
                                                                                                 2020-05985

                                       I performed an autopsy on the body of               ~1►   SALZMAN JR., GARY ALLEN

at                          the DEPARTMENT OF MEDICAL EXAMINER-CORONER

     Los Angeles, California            on       JULY 9, 2020                   1220 HOURS
                                                         (Date)                   (Time)



From the anatomic findings and pertinent history I ascribe the death to:
                                                          TRAUMA
~A>      SEQUELAE QF MANUAL STRANGULATION AND BLUNT FORCE
DUE TO OR AS A CONSE4UENCE OF
(B)
DUE TO OR•AS A CONSEQUENCE OF
(C)
DUE TO OR AS A CONSEQUENCE OF
(D)
                                                               CAUSE OE DEATH
OTHER CONDITIONS CONTRI3UTING BUT NOT RELATED TO THE IMMEDIATE


MANNER OF DEHTH
         HOMICIDE
HOW INJURY OCCURRED
         ASSAILED BY ANOTHER

Anatomic Summary:


                       I.      External trauma.

                               A. Contusions of faces, anterior neck, chest, and hands.
                               B. Lacerations of lip mucosae.
                               C. Abrasions of abdomen.

                       II.     Internal trauma.

                               A.   Diffuse tongue contusions.
                               B.   Thyroid cartilage fractures.
                               C.   Diffuse contusions of anterior neck strap muscles.
                               D.   Left 3rd and 4th anterolateral rib fractures.
                               E.   Surface hilar lacerations of liver and spleen.
                               F.   Small bowel contusions.

                       TII. Heart (425 grams).                              .

                                A. Four--chamber dilation, moderate.

                       IV.      Status post left thoracotomy.

                       V.       See separate Toxicology Report.




                                                                       ~~
    Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 30 of 62 Page ID #:35
                                                           ur.rAtc ~ mtry i ~r mtuic;n~ txnmmtrc-~~rc~ntrc


                    AIUTOPSY REPORT


Page~




        CIRCUMSTANCES:

        See Investigator's Report Form #3.



        EXTERNAL EXAMTNATION:

                                                is that of an unembalmed,
        The body is identified by toe tags and
                                               appears about the reported
        refrigerated adult Caucasian male who
                                               pounds, measures 66 inches
        age of 43 years. The body weighs 212
                                            nourished. The skin is free
        and appears well developed and well
                                              absent. A tattoo is present
        of scars and burns. Wrist scars are
                                                presumably altered. Livor
        on the right shoulder. Rigor has been
        mortis is fixed posteriorly.

                                                by gray hair. A mustache
        The head is normocephalic and covered
                                                     eyes reveals irides
        and beard are present. Examination of the
                                                   are unremarkable. There
        that are brown in color and sclerae that
                                                iva of the right lower
        are `scattered petechia of the conjunct
                                                 structed. Upper and lower
        eyela.d. The oronasal passages are unob
                                                   and without
        teeth are present. The neck is straight
                                                rmity. The abdomen is
        hypermobility. There is no chest defo
                                                    t male. The external
        obese. The genitalia are those of an adul
                                                    The extremities show no
        genitalia are without trauma or lesions.
                                                   , or needle tracks.
        edema, joint deformity, abnormal mobility


        EVTDENCE OF THERAPEUTIC INTERVENTION:

                                                  er position:
        The following are present and are in prop
                                           site s, interosseous site,
        Endotracheal tube, vascular access
        urinary catheter.

                                                ical procedures have been
        There are signs that the following surg
                                            t, left sided thoracotomy.
        done: Bilateral chest tube placemen


                                            RY:
        EVIDENCE OF EXTERNAL TRAUMATIC INJU

                                                 chest, and hands.
           1. Contusions of face, anterior neck,
           2. Lacerations of lip mucasae.
           3.1~b~asinn~ of a~domen~




                                             ~...:
             Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 31 of 62 Page ID #:36
                                                                    DEPARTMENT OF MEDICAL EXAMINER-CORON!
COUNTY OF LOS ANGELES

                            .AUTOPSY REPORT                         N°.
                                                                    2020-05985

                                                                    SALZMAN JR., GARY ALLEN

  Page   3




             CLOTHING:

                                                             clothing.
             The body was not clothed, and I did not see the


             INITIAL INCISION:

                                                                  Y-shaped
             The body cavities are entered through the standard
                                                             foreign material
             incision and the standard coronal incision. No
                                                              ea.
             is present in the mouth, upper airway, and trach


             EVIDENCE OF INTERNAL INJURIES:

                1.   Diffuse tongue contusions.
                2.   Thyroid cartilage fractures.
                                                                       es.
                3_   Diffuse contusions of anterior neck strap muscl
                4.   Left 3rd and 4th anterolateral rib fract ures.
                                                                    n.
                5.   Surface hilar lacerations of liver and splee
                6.   Sma~la bowel. contusions.


              NECK:

                                                                  e. There is no
              The neck organs are removed en bloc with the tongu
                                                                    without
              edema of the larynx. The hyoid bone is intact and
                                                       and  facia l  hemorrhages of
              fractures. There are diffuse contusions
                                                                  thyro id
              the anterior neck strap muscles bilaterally. The
                                                                     e length just
              cartilage shows a vertical fracture across the entir
                                                                     fracture at
              to the right of znidline. There is also a displaced
                                                          lage. - There  are
              the left superior horn of the thyroid carti
              diffuse contusions of the tongue.


              CHEST/ABDOMINAL CAVITY:

                                                              t of bloody fluid. The
              The left pleural cavity contains mild amoun
                                                             adhesions. The lungs
              right pleural cavity contains no fluid or
                                                             thoracic and abdominal
              are poorly expanded. Soft tissues of the
                                                            us fat of the abdominal
              wa11s are well preserved. The subcutaneo                         have a
              wall measures 500 cme   The organs of the abdominal cavity
              normal arrangemen~~o  Tizere a.s a m.~_~d amount of bloady E.l.uid
           Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 32 of 62 Page ID #:37


                          AVTOPs~ ~Po~T

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                                                              oneal cavity is
            collection around the spleen and liver. The perit
                                                       no adhesions.
            without evidence of peritonitis. There are


                                   SYSTEMIC AND ORGAN REVIEW

                                                            ngs other than
            The following observations are limited to findi
            injuries, if described above.


            CARDIOVASCULAR SYSTEM:

                                                            ghout with vessels
            The aorta is elastic and of even caliber throu
                                                              abdominal aorta
            distributed normally from it. The thoracic and
                                               tortu osity  or  widening of the
            have lipid streaking. There is no
                                                        the  lower  abdominal
            thoracic segment. There is no dilation of
                                                         ardial   sac has been
            segment. No aneurysm is present. The peric
                                                         ardial blood is
            previously opened and a mild amount of peric
                                                <  It  has  moderate four-
            present. The heart weighs 425 grams
                                                            cm thick; the left
            chambe~ dilation. The right ventricle is 0.2
                                                           without mural
            ventricle is 1.0 cm thick. The chambers are
                                                           competent. There is
            thrombosis. The valves are thin, leafy, and
                                                         lesions of the
            no endocardial discoloration. There are no
                                                         apices of the
            myocardium. There is no abnormality of the
                                                               the septum. The
            papillary musculature. There are no defects of
                                                       fashion. The coronary
            great vessels enter and leave in a normal
                                                       rn of coronary artery
            Ostia are patent. There is a normal patte
                                                            the major coronary
            distribution. There is no atherosclerosis of
                                                               blood vessels is
            arteries. The blood within the heart and large
            liquid.


            RESPIRATORY SYSTEM:

                                                 bronchial passages. The
            Moderate secretions are found in the
                                                      subcrepitant. The left
            mucosa is intact and pale. The lungs are
                                                        s 750 grams. The
            lung weighs 700 grams, the right lung weigh
                                                     The parenchyma is
            visceral pleurae are smooth and intact.
                                      The pulmonary vascu lature is without
            congested and edematouso
            thromboembolism.
          Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 33 of 62 Page ID #:38

COUNTY OF LOS ANGELES

                         AUT(JPSY REPORT                         N°.
                                                                 2C20-05985

                                                                 SALZMAN JR., GARY ALLEN

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             GASTROINTESTINAL SYSTEM:

                                                           ach is not distended.
             The esophagus is intact throughout. The stom
                                                           The mucosa is
             It contains 150 cc of tan gastric material.
                                                         ules cannot be
             unremarkable. Portions of tablets and caps
                                                  inte stin e and colon are
             discerned in the stomach. The small
                                                         iple  incisions and the
             examined by inspection, palpation, and mult
                                                       is present. The pancreas
             contents are unremarkable. The appendix
                                                        able.
             occupies a normal position and is unremark


             HEPATOBILIARY SYSTEM:

                                                        size and is red brown.
             The liver weighs 1400 grams, is of average
                                                      of the parenchyma is
             The capsule is thin, and the consistency
                                                      is a normal lcbular
             soft. The cut surface is smooth. There
                                                        The wall is thin and
             arrangement. The gallbladder is present.
             pliable. It contains bile and no calculi.


             URINARY SYSTEM:

                                                        t kidney weighs 150
             The left kidney weighs 150 grams. The righ
                                                       and the capsules strip
             grams. The kidneys are normally situated
                                                       The corticomedullary
             easily revealing surfaces that are pale.
                                                    bladder is unremarkable.
             demarcation is preserved. The urinary
             It contains 25 cc of clear urine.


             GENITAL SYSTEM:

                                                 or modularity.        Both testes
             The prostate is without enlargement
                                                     .
             are in the scrotum and are unremarkable


             HEMOLYMPHATTC SYSTEM:

                                                    average size. The capsule
             The spleen weighs 125 grams and is of
                                                 The parenchyma is dark red.
             is lacerated as previously stated.
                                                   ern. Lymph nodes throughout
             There is no increased follicular patt
                                                     The bone density is not
             the body are small and inconspicuous.
                                                 .rib is unr~markablev
             remarkable. The bane marrow of she
      Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 34 of 62 Page ID #:39

   OF LOS ANGELES

                       AUTOPSY REPORT                        N°.
                                                             2020-05985

                                                             SALZMAN JR., GARY ALLEN

rage 6


         ENDOCRINE SYSTEM:

                                                   oid glands are not
         The thyroid is unremarkable. The parathyr
                                                   . The pituitary gland
         identified. The adrenals are unremarkable
         is unremarkable.


         HEAD AND CENTRAL NERVOUS SYSTEM:

                                                     rrhage in the scalp.
         There is no subcutaneous or subgaleal hemo
                                                      stripped showing no
         The external periosteum and dura mater are
                                                     skull. There are no
         fractures of the calvarium or base of the
                                                      ural, subdural, or
         tears of the dura mater. There are no epid
                                                   hs 1350 grams. The
         subarachnoid hemorrhage. The brain weig
                                                    A normal convolutionary
         leptomeninges are thin and transparent.
                                                    demonstrates a uniformity
         pattern is observed. Coronal sectioning
                                                bral hemispheres are
         of cortical gray thickness. The cere
                                                discoloration, or hemorrhage
         symmetrical. - There is no softening,
                                                   are intact. Anatomic
         of the white matter. The basal ganglia
                                                  usions are not present.
         landmarks are preserved. Cerebral cont
                                                  without dilation or
         The ventricular system is unremarkable
                                               bellum are unremarkable.
         distortion. Pons, medulla, and cere
                                                    ar herniation. Vessels
         There is no evidence of uncal or cerebell
                                               al pattern of distribution.
         at the base of the brain have a norm
                                            arter,.iosclerosis.
         The cerebral arteries are without


         HISTOLOGIC SECTIONS:

                                              organs are preserved in one
         Representative sections from various
         storage jar.


         TOXICQLOGY:

                                               been submitted to the lab.
         Blood, urine, and vitreous humor have
         ~ comprehensive screen was requested.
           Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 35 of 62 Page ID #:40


                          AUTQPSY REPORT


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           PHOTOGRAPHY:

                                                         ng the course of the
           Photographs have been taken prior to and duri
           autopsy.


            RADIOLOGY:

            X-rays and CT scans are obtained.


            WITNESSES:

                                                   autopsy.
            Sergeant Heredia of LASD witnessed the


            DIAGRAMS USED:

                                                   ng the performance of the
            Diagram Forms 20 and 22 were used duri
                                                     to be facsimiles.
            autopsy. The diagrams are not intended


            OPINION:

                                                   al strangulation and blunt
            The cause of death is sequelae of manu
                                               is homicide.
            force trauma. The manner of death




              ~/". ~ _                                    ~~y/z~
                                                         DATE
            LAWRENCE NGUYEN, M.D.
            DEPUTY MEDICAL EXAMINER

            LN:bbtt/b
            D:07/09/2~; T:07/15/20
              Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 36 of 62 Page ID #:41

                                                                DEPARTMENT OF MEDICAL EXAMINER-CORNER
COUNTY OF LOS ANGELES
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                              ~- ~~s                                      20~fl-~59~5            ..._, .
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                                                            m         Deputy Medical Examiner ~~~~~
 f       Right Thumbprint
 Rev. 9/1'7
         Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 37 of 62 Page ID #:42

COUN'i'X OF LOS ANGELES                                DEPARTMENT OF MEDICAL EXAII~ER -CORONER




 xay. p ili4)
                                               ~~
               Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 38 of 62 Page ID #:43
COUNT`fOFIASANGELES                                      MEDICAL REPORT                        IIFPARTMFIUTl1c~~Cn~~•.~          t~...~„~.~„ ~.,,,,,..-~
                      AUTOPSY CLASS:~(A ❑ B ❑ C ❑Examination Only D                           ~` ~~                                   ~   ;-:~~•:- ~-
                                                                                                                                          -~_;;
                      ❑FAMILY OBJECTION TO AUTOPSY                                                                                         ~~
               ,.,.
                                                                                                         ~~~~""~~~~                        ......
                      Date: 7~`~IZ” Time: i22a Dr.          ~~~YL=~                                      r       y      j~,~I              v:"s,-.r -ice; .•.,.
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                                                         (Pfi~t}                      MPROXI-
                                                                                        ATE ~
                                                                                                         irl ~~~A~~~L ~ilil'f-             . ~ . ~ -_
                      ~iNa~ oN: ?/~ ~za               By; ,~ ~, ~.~ ~'~               INTERVAL
                                                                                      BE7VNEEN; _,
                                                                                                         ~~~ t                                          '
                                                                                                ~~•. ;                                      -    w'~.~;w
                                                         (Print)                       ONSET"                                              ,'~......~~:.. e~:,:
                                                                                        AND" , -s                                             ~- ~        '°" ~e
DEATH WAS CAUSED BY: {Enter only one cause per line for A, B, C, and D)                DEATH~~. ' ~~
                                                                                                      ~J
IMMEDIATE CAU5E:
                                                                                                  A e (~ Gender: Male                Female
~A} ~     kt(S           /t.~~.~~G,( C{y'~~ :~~~,{'10? Gnu ~~'~~t~ ~r'~ ~Y:,~y,h.~     ~S . PRIOR EXAMINATION REVIEW SYDME'
DUE T0, OR AS A C NSEQUENCE OF:                                                                      ODY TAG                ❑CLOTHING
                                                                                                  CSC-RAY (No.            ) ❑ FLUORO
CB}
                                                                                                  d SPECIAL PROCESSING TAG ~dED.RECORDS
DUE TO, OR AS A CONSEQUENCE OF:                                                                   ~ AT SCENE PHOTOS(No.          )

                                                                                                               GASE CIRCUMSTANCES
~~~
DUE TO, OA AS A CONSEQUENCE OF:                                                                   ❑EMBALMED
                                                                                                  D DECOMPOSED
~p~
                                                                                                  ❑ >24 HRS IN HOSPITAL
                                                                                                  ❑OTHER:                                               (geason)
OTHER CONDITIONS CONTRIBUTING BU7 NOT RELATED TO THE IMMEDIATE CAUSE OF DEATH:
                                                                                                                      TYPIPlG SPECIRAEN
                                                                                                   TYPING SPECIMEN TAKEN BY:
❑ NATURAL                        ❑ SUICIDE                     ~'9-I~I~ICIDE                         SOURCE:       ~'~fr~[
                                                                                                               TOXICOLOGY SPECIMEN
❑ ACCIDENT                       ❑COULD PJOT BE DETERiVIfNED                                       COLLECTED SY:              ~~
                                          -t                                                         HEART BLOOD               ❑STOMACH CONTENTS
If otFrer than natural causes,                                                                     ~EMORAL BLOOD              ~TREOUS
HOW DID INJURY OCCUR?              ~ ~5~~ i-e~    b~ ti~ o.I~.0 .--                                      TECHNIQUE:
                                                                                                   ❑                     BLOOD ❑SPLEEN
                                                                                                   ❑                     BLOOD ❑KIDNEY
                                                          YES ❑ NO                                 ❑BILE                         ❑
WAS OPERATION PERFORMED FOR ANY CONDITION STATED ABOVE:                                            ❑ LAVER                       ❑
TYPE OF SURGERY:   ~-~~ ~"'~"'~                      DATE: 7~S—lZ~                                   URINE                       p
                                                        ~?6•~2~{e ms                                URINEGIUCOSEDIPSTICKRESULT: 4+s+ a+ ~+ o
❑ORGAN PROCUREMENT                ;TECHNICIAN:
                                                                                                   TOX SPECIMEN RECONCfLIATiON BY: z'C~~
 PREGNANCY IN LAST YEAR             ❑YES       ❑ NO     ❑ UNK       ❑NOT APPLICABLE
                                                                                                                       HISTOLOGY
      ITNESS TO AUTOPSY             ❑EVIDENCE RECOVERED AT AUTOPSY                                        Regular (No.~~ ❑Oversize {No. _,~
                                      Item Description:                                             Histnpath Cut: ❑Autopsy ❑Lab
        G~tr~' ~}''~.ed{~ ~ J L,~-S~                                                                            Td~XICQLOGY REQUESTS
                                                                                                    FORM 3A: ❑YES ❑ NO
                                                                                                        NO TOXICOLOGY REQUESTED
                                                                                                    SCREEN ~C ❑ H ❑ T ❑ S                       ❑D
                                                                                                      ❑ ALCOHOL ONLY
                                                                                                      d CARBON MONOXIDE
                                                                                                      []OTHER (Specify drug and tissue)




                                                                                                     REQUESTED MATERi1at.OiV PENDII~tG CASES
                                                                                                     ~ POLICE REPORT                 ❑ MED HISTORY
                                                                                                     ❑ TOX FOR COD                   ❑HISTOLOGY
                                                                                                     ❑ TOX FOR R/O                   ❑INVESTIGATIONS
                                                                                                     Q MICROBIOLOGY                  ❑EYE PATH. CONS.
                                                                                                     Q RADIOLOGY CONS.
                                                                                                     l~ CONSULT ON:                                                ~

                                                                                                          ❑ NEURC} GgNSUL"f ❑ DME TC3 CUT
                                                                                                         Q CR(MINAUSTICS
                                                      ~~~                                                (~ GSR ❑SEXUAL ASSAULT ❑OTHER
 R~~~~~~.~
                                                                                                                                                     (Rev. 9/13)
                                                                               PINK -Certification             GOLDEPIROD - DME
                         WFiI'TE -File Copy      GAfdARY -Forensic Lab

                                                                          eq
           Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 39 of 62 Page ID #:44

                                                  AUTOPSY CHECK SHEET                             DEPARTMENT OF CORONER
COUNTY OF LOS ANGELES




                                                                                      SALZI~Rt~. GART
                                                                                                                '.
                                                                                      ~i Q R! f
                                                                                                                      .,. ,l
                                                                                                                          ~.,.


    EXTERNAL EXAM                             PERITONEUM                                      SCALP
       Sex                                       Fluid                                  :~'    CALVARIUM
       Race                                      Adhesions                         ~='~`'t ~`  BRAIN Wt !`~~'
       Age                                    LIVER Wt. %k~~' f k~~4K ~<«=%                          Qura
       Height                                    Capsule                  ~~'s                       Fluid
       Weight                                    Lobules                                             Ventricles
       Hair                                      Fibros                                              Vessels
       Eyes                                      G B 5~.~ ~~~`"'~ , `~~'~4f`'~ s~'~ Middle ears
       Sc(era                                    Calculus                                            Other
                                                 Bile ducts       ~ K~      tot  ~  ~ 4
                                                                                      ,        PITUITAR     Y~
       Teeth
       Mouth                                  SPLEEN    Wt.    ~ Z1     f ~  ~
       Tongue ~tih^s~`"'~                        Color
       Nose                                      Consistency
       Chest                                     Capsule                                       SPINAL CORD
       Breasts                                   Ma{pigmen   t
       Abdomen                                PANCREAS
       Scar                                   ADRENALS
                                              KIDNEYS Wt.                                      TOXICOLOGY SPECIMENS
       Genitals
       Edema                                     R ~ ~"b      ~ ~.~ mac.
       Skin                                      L     t S"~
       Decubitus      r                          Capsule
                                                 Cortex                                        SECTIONS FOR
    HEART Wt. ~ "~~~'
       Pericardium ~~~i RV 0• ~1~                Vessels                                       HISTOPATHOLOGY
       Hypertrophy          Septum               Pelvis
       Dilation fix' ~~',o~ LV {-o               Ureters
        Muscle              _Septum t. ~      BLADDER Zs r-~-
                                              GENITALIA                                        MICROBIOLOGY
       Va{ves
       Coronaries c~ % ~ f~                      Prostate
    AORTA ~-5                                    Testes
    VESSELS                                      Uterus
                                                 Tubes                                         DIAGRAMS
    LUNGS Wt.
                                                 Ovaries                                       X-RAYS
       R ~~
       L ~U                                   OESOPHAGUS
       Adhesions                              STOMACH                     ,.~,` ~G
       Fluid                                     Contents (~~' ~`"
                                              DUOD. &SM. INT. ~µ-fit ~wL~.                     OTHER PROCEDURES
       Ate{ectasis
       Oedema ~r~-                            APPENDIX                    ~`'``r'"f~'~'
       Congestion ~+-{'                       LARGE IIVT.
       Consolidation                          ABDOM.NODES
                                              SKELETON                                         GROSS IMPRESSIONS
       Bronchi t~a~t Sc~~
        Nodes                                    Spine
                                                  Marrow                                           1"~.
    PHARYNX                                                                    ah ~~ r~.: 2~'1 ~'t
    TRACHEA                                       Rib Cage .. ~.,F-~~ ~~~ r
    THYROID                                       Long bones
    THYMUS                                        Pelvis
    LARYNX
    HYOID
    ABDOMltVAL WALL. F~eT .~ ~


                                       Time                                           Deputy Medical Examiner
   Date
                                                                            ~.-----
          7~~'j~~                          (z~
!:\Desktop~New pesktop\Form #16.doc
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 40 of 62 Page ID #:45



                                                                                                                         ,~~'""
 ~~°`~`°'`''~, Depart►nent of Medical Examiner-Coroner, County of Los Angeles
             ~~.
          ~;` FORENSIC SCIENCE     LABORATORIES
                x'          Road, Los Angeles, CA 90Q33
                                              1104 Nurth `fission

                                         Laboratory Analysis Sammary Report
  Nau~en. Lawrence M.D.
                                                                                                                  ~-.~    PendingTos
  Deputy Medical Examiner
  1104 North Mission Road
  Las Angeles, CA 90033

  Coroner Case Number: 2020-0598                               Decedent: SALZMAN JR., GARY ALLEN

                     SERVICE                    DRUC                                           RESULT            AiV;~LYST
 SPECIMEN


  Alcohol Quantitation/Confirmation
    Blood. Femoral
                                                                                                     Ne~auve      A. Chavez
                     Alcohol-GC/FID-HS          Ethanul


     Blood, Heart
                                                                                              0.0?0 g°%           M. Schuchardt
                     Alcohol-GC/FID-HS          Ethanol


     Vitreous
                                                                                                     Ne~ahve      A. Chavez
                     Alcohol-GC/F[D-HS          Ethanol


  Drug Screen
     $food. Heart
                                                                                                     PP           P PfylCruz
                     GL[SA-Lnmunoassay           Benzodiazepines
                                                                                                     ND            P. PfitCruz
                     ELISA-[mmunoassav           Cocaine and Metabolites
                                                                                                     ND            P. PfylCruz
                     ELISA-Immunoassay           Fentanyl
                                                                                                     PP            P. PfytCruz
                     ELISA-Immunuassa~           Marijuana:l 1-nor-Delta-9-Carboxp-THC
                                                                                                     ND            P. PfylCruz
                     ELISA-Immunoassay           Methamphetamine & tv1DMA
                                                                                                     ND            P PfytCruz
                     ELISA-Immunoassay           Opiates: Codetne 8c Morphine
                                                                                                     ND            P. PtvlCruz
                     ELISA-Immunoassay           Opiates: H~•drocodone & Hydromorphone
                                                                                                     ND            P PfylCruz
                     ELISA-Immunoassay           Phencyclidine


  Drug ScreenlCon~rmdtion
      Blood. Femoral
                                                                                                U 13 uJmL          R Cabrera
                      Bases-GC/NPD &/or ~[S       Diphenhydramuie
                                                                                                0 16 uJmL           R CaUrera
                       Bases-GC/NPD &/or MS       Olanzapine


      Blcwd. I-ieart
                                                                                                U ~3 u~/mL          R Cabrera
                       6ascs-GC/NPD &lor Nt5      Diphenlrydramine
                                                                                                0 3d uJmL           R. Cabrera
                       Bases-GC/NPD &/or MS       Olanzapine
                                                                                                      ND            8 Helmer
                       Benzos (Free)-LC/MS        Benzodiazepines
                                                                                                      ND            R Cabrera
                       C~uinabinoids-LGMS/MS      I 1-nor-Deha-9-Carboxy-THC, Free
                                                                                                      ND             R. Cabrera
                       Cannabinoids-LC/MS/MS      delta 9-Tetrah~~drocannaUinol (TNC), Frte




                                                                                                     Testing C.aboraiories    Page 1 of 2
   Print Qate   .~ Fad --- ugust 1~. 202Q                 :WAS ISO/NEC (7025:2017 Fureusic Science



                                                                                                                                      ~1 g~Z7~z Q
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 41 of 62 Page ID #:46



 Coroner Case Number: 2020-05985                                                            Decedent: SALZMAN,JR., GARY ALLEN

 SPECIMEN                  SERVICE                                     DRUG                                                                         RESULT                      ANALYST


  Legend:                                              ND              Not Detected                                      SNS              Specimen Not Suitable
                  Grams                               nglg             Nanograms per Gram                                ~ITIP           'I'esc Not Performed
  '%              Gram Percent                        ng/mL            NanoQrams per Milliliter                           ug              Micro~ams
  Inc.            Inconciusive                        PP               Presumptive Positive                               ug/~            Micrograms per Grmn
  ❑~~             Millia~ams                          QNS              QuantiR blot Sufficient                            ug/mL           Micrograms per Ivliltiliter
                                                                                                                                  tlm Forensic Toxicology Laboralary,
  The ;dcohol analysis wxs performed in xecordante m Ca4fornia Code of Re;uMtions "Title l7" compliance 6y a qualifieJ analyst in
  Fonneic La6onlo~ies Oirision, County of Los ~ngeks Department of JltdicAl Examiner- Coroner.

                                                                                                                                                             positire"(PP)
  Enzrmrlinked immuaosorbanf assay(6L[S,1) provides only a prcliu~inwry analytical result that is cooliagent upon a confirmatort hsL .~. "proump~ive
                                                                                                                                specific dn~~~s) present in 16e specimen.
  eipnifits a detection of a drub cius and mint be confirmed br additional lesling for true iJmtiGcalion anJ/or quuntitntion of

                                                                                                                           specimens siz months(minimum)from
  Per she Departmene's Evidrnce Relrnti n Policy, the blood specimens) will he rctaineJ for one year(minimum)and ali other
  Poslnlorte[il Exam.


   Final Review By:                                                                                                                                                   Date:          p/~~
                                    Sera    u. ton de Quintu
                                    Supervising Crimina[ist I
                                                                                                                                                  and nre the opiniais a+id ronclue'ions nj7Nr unnlpsn'
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   TGe uboi+r r~e
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   f10(G(~. n([~.lIG~ JCN(CW DIGS h[[!I C[J!%fClt hy` f1t! IIOtCi~ T(IXICIIlOp,/5! IO e!li}'lirC f~ltl! 4~~!'14Ild!!!f( UnCt[lIIMx'
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   Print date:            Friday. August ld. 2020                                 ANr#B 1S0/IEC 17025:2017 Forensic Science Testing La6uratories
                      Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 42 of 62 Page ID #:47



                                                                                                                   CASE REPORT                                                                                                 ~e~a~zra~NroFc~~r,~~
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   pronaunc~d an t37iE3~%?ti2G of 13101~ours. T13e~e is video or"ttie




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Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 43 of 62 Page ID #:48
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          ~~             County of Los Angeles, Department of Coroner
    . ~+,;~ k~ ,~ .
    .~ _ ~.
                                    Investigator's Narrative                                    ..~o
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        C~UFOpw'p


   Case Number: CaseNum                             Decedent: FuIlName


   Information Sources:
                                                                          , Los Angeles, CA,
   Medical Record: Hospital: LAC+ USC Medical Center: 2051 Marengo Street
   90033, Patient file #100277688.
                                                                              u,(323)890-5500.
   Detective Heredia #259674, Los Angeles Sheriff's Department Homicide Burea
   Investigation:
                                                                                     Angeles Sheriff's
   On 07/051202Q at 1956 hours, Detective Heredia #259674 from the Los
                                          ed  this appar  ent  homic ide  death  to  Invest igator L.
   Department Homicide Bureau report                                                          at twin towers.
                               ed that the deced   ent  was in  his cell with his cell  mate
   Darabedyan. It was report                                                                 and  saw the
                                                                            eting   round s
   On 07/05/2020 at approximately 120Q hours, a Deputy was compl                                   decedent to
                                                                    ated  them  and    moved   the
   cellmate standing on the decedent's neck. Qeputies separ                                            . There
                                                            orted   to the hospit al  and prono  unced
   another cel( to render aid. The decedent was transp
   was a suspect in custody at the time    of the  call.
                                                                           Science Center by Forensic
   The decedent was transported from the hospital to the Forensic
   Attendant I. Cervantes on 07/06/2020     at  1130   hours .

   f received this case for investigation on 07/08/2020.
                                                              alcohol related arrests on file.
   The decedent's fingerprint return showed no prior drug or
                                                                 the time of my investigation.
   Criminalist call out criteria.was reviewed and was not met at
    Location:
                                                          -~CA, 90012.
    Place of Injury: Jail: 450 Bauchet Street, Los Angeles,
                                                              es, CA, 90033.
    Place of Death: Hospital: 2051 Marengo Street, Los Angel
    Informant/Witness S#atements:
                                                            ing information. On 07!05/2020, the decedent
    The medical record and the Form 18 had the follow
                                                 jail cell.  It was reported that the decedent was
    was found unresponsive by Deputies in his
                                                            measures were started by staff.at the scene
    possibly assaulted by another inmate. Life saving
                                                        the scene and took over life saving measures.
    while 911 was contacted. Paramedics arrived to
                                                        cardiac arrest. A CT scan showed an acute
    The decedent was transported to the hospital in
                                                re of  the  anterior thyroid cartilage at the laryngeal
    mildly comminuted; mildly displaced fractu
                                                                  mildly displaced fracture of the left thyroid
    prominent extending to the inferior thyroid notch, acute
                                                        the left temporoparietal convexity, and acute
    cartilage superior horn, hyperdense focus along
                                                        lateral 3`d and 4th rib. On 07/05/202q the
    comminuted displaced fractures of the left antero
                                                    Despi  te life saving measures the decedent was
    decedent underwent a left side thoracotomy.
                                                         Inaba.
    pronounced on 07/05/2020 at 1310 hours by Dr.
                                                       iew with Detective Heredia #259674 from the Las
     On 07!08/2020, I conducted a telephone interv
                                                        and he stated the following information That is
     Angeles Sheriff's Department Homicide Bureau
                                                      ongoing police investigation. On 07/05/2Q20, the
     preliminary and subject to change pending an
                                                         the jail cell and his cellmate was on the top bunk
     decedent was reportedly sleeping on the floor of
                                                         from the top bunk onto the decedent. The
     of the bed. The suspect reportedly jumped down
                                                              punched him in the neck. The suspect then
     suspect then attempted to choke the decedent and
                                                          the decedent. The suspect finally stands on the
     reportedly got some water to drink and returns to
                                                       balance.. Deputies arrived to the scene, remove
     decedent's neck using the upper bunk rails for                                                  suspect in
                                                res. There is video of the incident. There is a
     the suspect, and started life saving measu
     custody at the completion of this report.
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        y Ur ~,as y
     J             C~f
      a~ ~ ~                                                                                          ;n "

      '~         ,T-~ :i   County of Los ~~.ngeles, Department of Coroner
                                      Inves~i~ator's Narratiie
      ~~Q~
   Case Number: CaseNum                          Decedent: FullNar~e


   Scene Description:
                                                                                  hospital case.
   There vas no scene investigation by 1~1ed+cal Examiner personne3 as this was a
   Evidence:
                                                                                              and a
   On 071'06!2020, ~arensic Attendant L. GervantEs coliec~ed a Fingernail kit at 1A.3fl hours
   hair ki# at'~32 hours. Please see evidence log.
   Sody Examination:
   Sody Positioning: The dacedent is a 43-year-o{d Caucasian male with brflwn eyes and grey hair.
                                                                                               tion band
   He was seen ~rvith a beard, a mustache, and appareni natural Meth. A hospital identifica
   with the decedent's inforrnatior~ uvas seen to hss right }eg. Thy ~~cec~en t was viewed at the
   Forensic Science Center. The dee~denYs back side was not v~e4vecl.
                                                                                   and genitals. A
   ti~edical Appliances: A cube was seep coming from the decedeni`s mouth, sides,
   surgical suture was seen to tf~e decedent's left side. Them w~r~ no aEher medic~I appliances
   seep.
                                                                                           iion vvas
   Trauma: Rte' discoioratio~ was seen to the decedent's neck and face. Blue dsscnlc~ra
                                                         seer=. #o the decedeni 's chest. There  was ~a
   seep to the decedent's chest. C}ark discaiaration was
   other obvious evidence ofi trauma seen  or p~lp~ted .

                                                                                        no scars or
   Identifying marks: A taboo was seen to tl~e dec~denYs right arm. Tl~~er~ were
   defiormiiies seen to the u~c~deni.
                                                                            ~s #his was a hospital
   Rigor mobs and Lividity: Rigor mortis and livor mortis were na# observed
   rasp.
   Identi#ication:
                                                                                  nt of Jusfice as Gary
   TY~e decedent avas positively ids€itifed by his fincerprints from the Departme
   ~1Ilen Salzman Jr., deie of birth 07,01119 77.

   i~exfi of Kin Notifca~ic~n.
                father, was notified of the death by Detectives an 07>05!2020. The decede7#
   was not married and did not have any c~ildr~n.
   Tissue Donation:
                                                                         ative.
    Unknown ii tissu e donat€oE~ was a~dresse~ by a One Legacy represent
   Autopsy ~lotification:
                                                                           Homicide Bureau for a
   Please contact ~etec~ive Heredia #25967T from the Los Angeles Sheriff's
   2- hours autopsy notification.                                    ."~,
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   IvS~,LISSAMUNO `'b~~999                                     ~SI,~I:P,.~'ISUR




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                Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 45 of 62 Page ID #:50
                                                             HOSPITAL AND NURSING                                      1104 NORTN MISSION ROAD
COUNTY OF LOS ANGELES                                                                                                  LOS ANGELES,CALIF. 90Q33
DEPARTMENT OF CORONER                                        CARE FACILITY REPORT


                                 TO REPORT ADEATH —PHONE(323)343-0711 FAX (323) 222-7041                           CC #
                                 COMPLETE ALL LINES, USE INK. IF UNKNOWN OR NOT APPLICABLE,SO STATE.


                                                                NAME OF FACI~fTY
                 •


 ADDRESS                                                              HOSPITAL PHONE #-~Z'~~ f ~~"~7~~~
                                                         L'YJc~y L7
 NAME OF DECEDENT
                                                                            QOB      1f       AGE ~3           SEX          /       RACE
SQURCE OF lDENTIFI
 DATE OF DEATH                                    TIME     ~d~ T
 PRaNOUNCED BY _                                   M~           MEDICAL RECORD OR PATIENT FILE #~~~~~~
 ORGANJTISSUE DONATION INFORMATION
 WAS THE NEXTOF-KIN APPROACHED REGARDING ORGAN/TISSUE DONATION?
 NO.J~ YES ❑       IF YES WHAT WAS T E(R RESPONSE?
                                    S ~~~                              TIME     j3 ~~
 DATE ENTERED HOSPITAL
                            Name
                            /    or R.A. #)                              ❑ ER DEATH?     ~'1N PATIENT DEATH?
   ❑ SELFAM   BULANC     ~E(
 FROM               ~DC~f (" ~alc~
                                                     GIVE ADDRESS                (IF HOSPITAL ATI'RCH THEIR HISTORIC
         (STATE WHETHER HOM~, HOSPITAL OR OTHER)
                                                                                                                       i~                           M.D.
 ADMII?ED BY:        ~• ~~~~~t ~~~f                M.D.      PRIMARY ATTENpING PHYSICIAN ~~~• ~~~~~ - ~~~
 OFFICE PHONE #                                              OFFICE PHONE #
                                              PLACE                                        CAUSE
 INJURfES                                                                                         (TRAFFIC, FALL, ETC.)
            DATE                TIME
 DESCRIBE INJURIES:



 CLINICAL HISTORY:



                                                                                   N OR AMFUl"ATION PERFORMED
 SURGICAL PROCEDURES: STATE TYPE, DATE, TIME AfVD RESULTS OF ANY OPER;4TIO


 WAS A BULLET OR OTHER FOREIGN QBJECTS RECOVERED? SPECIFY
                                                                                                         DATE &TIME
 LABORATORY: REPORT ON PATHOLOGY SPECIMENS TAKEN
                                                     ~'"J~'
 LABORATORY PHONE NUMBER ~2-~i~'0~"'~ ~~
 MICROBIOLOGY CULTURE RESULTS: ~NO            YES(ATTACH REPORI~
 TOXICOLOGY SCREEN:       NO   ~~YES(ATTACH REPORT
 RADIOLOGICAL STUDIES:      NO  +/' YES (RTi'ACH REPORI~

 REMARKS: ESPECIALLY SYMPTOMS PRECEDING AND DURING TERMINAL EPfSODE



 IN MY OPINION, THE CAUSE OF DEATH 1S:
 BY                                                           M.D.

 OFFICE PHONE #

 -OR-                                                                                            SALLI~IAN,
                                                                                       MRUN                   GAKYALL~N
                                                                                                 DOB:07/Ot/1977
                         NURSE/HOSPITAL ADMINISTRATOR                                                              ~3 Y M
                                                                                              ~~ DOS:
                                                                                                       07/US/202p 13:08
 OFFICE PHONE #                                                                               z FfIV: IQ2076831~g an Beth               .
      THE BODY WILL NOT BE REMOVED BY THE CORONER WITNOU'T H!S
1.

2.
      COMPLETED REPORT AND COPIES OF ALL CHARTS.
      ALL ADMISSION BLOOD SAMPLES/SPECIME~lS,INCLUDING GASTRIC
                                                               LAVAG~,
                                                                                       NAME
                                                                                                 ~i~ ~~~~~a~et►~~ it~'~~j~rlt~IdliNr~rrr'~~
      N~EI~ T() A~~OMWA NY 3'HE REMA6l~~ .
                                                                                       DOB/GENDER
                  ~, ,     ~.
                                                                                                                            `TO REPORT A DEATH
           ~:              j

         T-76H655
                    f                  FILE IN MEDICAL RECORD                          PAGE 1 OF 1                                            76H655 (9-09)^ u
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 46 of 62 Page ID #:51




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                                          E~chibit #2
     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 47 of 62 Page ID #:52


                                           CLAIMS FOR DAMAGES                                                                                 TIME STAMP
                                                                                                                                            OFFICE USE ONLY

                                                                                                                                                 ,:
COl1NTY OF LOS ANGELES
                                          TO PERSON OR PROPERTY
                      INSTRUCTIONS:
                                1.      Read claim thoroughly.
                                2.      Fili out claim as indicated; attach additional information if necessary.
                                3.      Please use one claim form for each claimant.
                                4.      Return this original signed claim and any attachments
                                        supporting your claim. This form must be signed.
                                 DELIVER OR U.S. MAIL TO:
                                 EXECUTIVE OFFICER, BOARD OF SUPERVISORS, ATTENTION: CLAIMS
                                 500 WEST TEMPLE STREET, ROOM 383,
                                 KENNETH HAHN HALL OF ADMINISTRATION, LOS ANGELES, CA 90012
                                 (213) 9741440
                                                      FIRST NAME                 M•~•   10. WHY DO YOU CLAIM COUNTY IS RESPONSIBLE?
~. X Mr.     Ms.    Mrs.    LAST NAME
                       Salzman                      Gary                     A          The County of Los Angeles and the LA County Sheriffs Department were
2. ADDRESS OF CLAIMANT
                                                                                        negligent Res ipsa loquitur in allowing my son Gary Salzman to be
                                                                                                                                                                  of
41029 172d Street East                                                                  murdered while in their custody. My son was openly gay and a veteran
cin                                       STATE                       ZiP CODE
                                                                                        the U.S. Military. He was placed  in the general populati on at the Men's
Lancaster                                CA                      93535                  Jail. Me was murdered by another inmate as a direct and proximate
                                                                                                                                                              to
HOME PHONE                                     ALTERNATE PHONE                          cause of the County's neglect, including but not limited to a failure
                                               (661)860-3416                            supervise and failure to protect and follow established Jaiihouse
(669)264-0906                                                                           procedures and policies.The County Sheriffs abused their power in
                                              .CLAIMANT'S SOCIAL SECURITY NUMBER
3. CLAIMAINT'S BIRTHDA7E:                                                               atiowing my son's murder through maintaining unsafe conditions.
06/05/1957                                     XXX-XX-XXXX                              Deputies ignored my son's immediate need for urgent care.
5. ADDRESS TO WHICH CORRESPONDENCE SHOULD BE SENT
                                                                                         See Exhibits #1 - #4 attached hereto in support of my claim.
41029 172d Street East
                              CITY                      STATE         ZIP CODE
STREET
             Lancaster                               CA     ~ 93535                                                                                 NTS}
                                                                                        11. NAMES OF ANY COUNTY EMPLOYEES(AND THEIR DEPARTME
6. DATE AND TIME OF INCIDENT                                                               INVOLVED IN INJURY OR DAMAGE (fF APPLICABLE):
7/5/2020 9:17 am                                                                                                                      DEPAR ME
 1. WHERE DID DAMAGE OR INJURY OCCUR?
                                                                                         UNKNOWN                                      !.A County Sheriff
 Los Angeles County, Twin Towers Jail
                              C~7y                      STATE         Z!P CODE
 STREET
                                                                                         UNKNOWN                                      State of California
              450 Bauchet St., LA                     CA           90012
                                                                                                                                              AND
                                                        LIST DAMAC,ES                   12. NltTNESS(ES)TO DAMAGES OR INJURY: UST All PERSONS
 8. DESCRIBE IN DEfAILHOW DAMAGE OR INJURY OCCURRED AND                                     ADDRESSES OF PERSONS KNOWN TO HAVE INFORMATION:
 (attach copies of receipts or repair estimates):
 My son, Gary Jr., was murdered July 05, 2020 while in the custody of the                NAME
 Los Angeles County Sheriff Department, Los Angeles County Jail. Please                  UNKNOWN
                                                                hereto as
 see attached LA County Coroner's case #2020-05985, attached                             aDOREss
 Exhibit #1, and Exhibits #2 - #4 in support of my Claim.
                                                                                         NAME


                                                                                         ADDRESS

                                                                                                                                                   NAME, ADDRESS,
                                                           NO~                           13. IF PHYSICIANS)WERE VISTED DUE TO INJURY, PROVIDE
                                               YES~
 9. WERE POLICE OR PARAMEDICS CALLED?                                                       PHONE NUMBER, AND DATE OF FIRST VISIT FOR EACH:
                                                                                                                                                           PHONE
                                                                                         DATE OF FIRST VISIT    PHYSICIAN'S NAME
                                         SIl@fl{~          REPORT #
 (IF YES)AGENCY'S NAME ~ COUn~                                                                                  UNKNOWN
                                                                                         07/05/2020                                                                Z1P CODE
                                                                                                                                                        STATE
                                                                                         5 REST
                                                                                         UNKNOWN HOSPITAL                              LA               CA
  CHECK IF LIMITED CIVIL CASE~
                                                                                                                PHYSICIAN'S NAME                           PHONE
                                                                                         DATE OF FfRST VISIT
   TOTAL DAMAGES TO DATE             TOTAL ESTIMATED PROSPECTIVE DAMAGES
                                                                                                                                            CITY        STATE      ZIP CODE
                                                                                         STREET
  ~ 6,000,000.00                     ~ $,000,OOO.OQ

                                                             THIS CLAEM MUST BE SIGNED
                                                                                              CODE SECTION 72)
                                     NOTE:    PRESENTATION OF A FALSE CLAIM 1S A FELONY(PENAL
                                                                                                                   OCCURRENCE.
                                                                             NOT LATER THAPI 6 MONTHS AFTER THE
                                       TO PERSONAL PROPERTY MUST BE FILED
  CLAIMS FOR DEATH,INJURY TO PERSON DR
  (GOVERNMENT CODE SECTION 911.2)
                                                                                                                    SECTION 811.2j
                                                                              THE OCCURREN E.(GOVERidMENT CODE
                                    8E FILED NOT LATER TRAM ONE 1tAR AFTER
  ALL OTHER CLAIMa FgR DAMAGES MUST                           15. SIGNA7UR  QF  ,,~AIMANT OR P ON  ~LlNG QN HISMER      D TE
                                                  DATE    ~       BEHALF GIVING f~LAT10NSH~ ' C~AIMAh17
   14. PRINT QR TYPE NAME  ~~                                                             ~.    r
                                                                                                               ~-     ~' ~~~,..,..._._~               11/10/2020
                                                              11/10/2020
  Gary A. Salzman Gather)                                                                                                                   AT                  RevUed 11-2016
11/10/2020Case   2:21-cv-04604-PA-SK Document 1-1
                                           Case DetailFiled 06/04/21
                                                       —Medical           Page 48 of 62 Page ID #:53
                                                                Examiner-Coroner




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                                                                  LQS ANGLES COUNTY
                                                                  MEDICAL ~;XAM~NER-CORONER
                                                                     "La~v ar~d science Ser~inq the CQmrr~u~ity"




                                                              'u~ll~hi FCt RErslii.TS LtSi {CASE-SEARCH),               tA'vE~rV SEARCii




                                           GARY SALZfe~IAN JR.
                                                                J u fy 1, 1977 - ~ u ly 5, 2020
                                                                          (43 years



                        Case Number
                        Zo2o-os9ss

                        Case Status
                        CLOSED

                        gady Status


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                                                                                             4✓'~g                                         1/3
                                                 -2020-05985
 https:l/mec.lacounty.gav/case-detail/?caseN umber
~~~~a~2ozoCase 2:21-cv-04604-PA-SK Document 1-1
                                         Case DetailFiled 06/04/21
                                                     —Medical            Page
                                                              Examiner-Coro ner 49 of 62 Page ID #:54




                       RELEASED

                       Gender
                       MALE

                       Ethnicity
                       CAUCASIAN

                       Place of Death
                       HOSPITAL

                       Manner
                       HOMICIDE

                       ~C1VC5`~I~atOf
                       MUNOZ

                        Deputy Medical Examiner
                        D.R. NGUYEN

                        Cause A
                       SEQUELAE OF MANUAL STRANGULATION AND BLUNT
                       FORCE TRAUMA

                        Cause B
                        N/A

                        Cause ~
                        N/A


                                                                 ~~



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 https:/lmec.facounry.govlcase-detail/?caseNumber-2020-05985
11/1x/2020Case   2:21-cv-04604-PA-SK DocumentCase
                                               1-1DetailFiled 06/04/21
                                                         —Medical           Page 50 of 62 Page ID #:55
                                                                  Examiner-Coroner




                       Cause D
                       N/A

                       Other Significant Conditions
                       N/A
                          P~SS2Ci~tASE T~~Ct3A~t~~TS (/PURCHASE-CASE-DOCUMENTS/?CASENUMBER=2020-05985),




                       For more case information, please call the Records
                       unit number: 323-343-0695.

                       Deferred =Pending additional investigation.

                       Cases on security hold will not be displayed in the search
                       resu(ts.

                       Coroner Case information displayed or populated on this
                       website is public record and is subject to disclosure by
                       the California Public Records Act.




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 https://mec.lacouniy.govlcase-detail/?caseNumber=2020-05985
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a~7~2~20   Case 2:21-cv-04604-PA-SK Document  1-1
                                          fiery     Filed1977
                                                SALZMAN    06/04/21       Page 51 of 62 Page ID #:56
                                                              - 2Q20 -Obituary




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               On July 5, Zt120 Gary Sa~.zn~~an fir,, ,age 43 ~er.~t home to be with The Lord.
               He was born. Tiny 1, 19t~~ ~.nE~ r~~is~~d ~a~. t~:~~ .A~.~t~lop~ Valley. He attended
               Littlerock High S~~oal. ~~.i}r r~cr~~~re~ ~i~P G~I7 in 1994. Gary was a Veteran
               of the United States ~r~~~i a:~d :Eec~~r~l ~ese~v~s 1995- 1997. Gary later
               went on to achieve his ~ ~r~ ~~.~li~~.a~r A3-ts. nary re-loc~.ted to Los
               ATlgeleS lY] ZO15 °WY~2Y'~ ~~.~ ~~TiJY~t:~ ~. as a 'Clef. Gary leaves behind
                                                                                             two

               childxen, Chloe Salzr~nan., T~~o~~E~.> $~n~s, three sisters Patricia Garver,
               Racheal S~l~zman and l~s~.le~r S~I.~~~~ar~ as ~r~11 ~s his mather and father
                                                                                              h.~ld ~t
               ~a~ ar~d ~~~ 5~.~~~~u~~~.. l.`~~~.~.~~-~~~~.~ J~~~~~ ~~.~.~.x~~ ~~ 2Q2Q ~ta be
               dope C~~pei ~~1~5 ~T~st ~V~ )~, ~~~~.~rtz ~:~~lq t~.l~ 93536 ~t 11en(? ~a~4
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  t;ps:/lwwvv.legacy.comlobituaries~avpress/obituary.aspx?n=gary-salz~n~ar&pid=1
                                                                                   ~~
 /ZD20           Case 2:21-cv-04604-PA-SKGaryDocument
                                              A len Salzman1-1      FiledHomicide
                                                           ,:r., 43 -The   06/04/21       Page
                                                                                  Report -Los    52 of
                                                                                              Angeles    62 Page ID #:57
                                                                                                      Times


                 The Homicide deport ~
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       any All~~ Salz ~.~.~:~., 4-3
 .;:JLY 3~, 2020



 Gary Allen Salzgnan Jr., a 43-year-old ~Izi~te m.al~, died Sunday,July 5,in
 Chinatown, according to Los ~n~;ele~ C~~u~zt~ 1VIedical F~aminer-Coroner's records.

 Do you have information to s11~re about t~:~e Iife c►f Gary Allen Salzman Jr. ?The
 ~Iomicide Report needs your help. P~le~.~e ~~iIl out this form or e-mail us at
 ~n~miciderep~rt@l:atimes.com.




 S1~are a memory ar thought a~~ut Gar3- ~Clen Salzrrr4an Jr.
  Before you post, here a~~ sorr~e ans~rers fio freque~tEy ash
                                                                                                      8y confin~+in~ to use our site, yc~u agree to cur Terms of S
                                                                                                      Pri~~acy Po(icy. You can (earn r~tore a~c~ui hoer we ~;se ~:.
   o Why does the Hornieide Rep~~rt ~iia~~ the rr3C~ ~f VIC
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't:ps://homicide.Iatimes.com/pasUgary-ailen-salzman-jr.~
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 53 of 62 Page ID #:58



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                                                                   ;,$ 1.               Gary ~~1ticn Salzman )r., 43
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                                                                ” ~'                    Amieide Report naeds your help Plsvu SIl outtlus[orra.
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     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 54 of 62 Page ID #:59




                                        PROOF OF SERVICE
     STATE OF CALIFORNIA
                                              ss
     COUNTY OF LOS ANGELES
 4
             I am a resident in the County of Los Angeles, State of California, over the age ofeighte
     yeaxs, and not a party to the within action. My business address is: 42150 Madison Ct., Quartz
     Hill, CA 93536. On November 10, 2020, I served the foregoing dacument(s) described as
     CLAIMS FOR DAMAGES TO PERSON OR PROPERTY;PROOF OF SERVICE on:
            Executive Officer, Board of Supervisors
            ATT: Claims
            500 West Temple St., Room 383
            Kenneth Hahn Hall of Admin.
 9
            Los Angeles, CA 90012
io   ~       (VIA PERSONAL SERVICE) By causing to be delivered the
             documents)listed above to the persons) at the addresses)set forth
~1           above.
i2 0         (VIA U.S. MAIL} In accordance with the regular mailing collection and
             processing practices ofthis office, with which I am readily familiar, by
13           means of which mail is deposited with the United Stakes Postal Service at
             Los Angeles, California that same day in the ordinary course of business,
14           I deposited such sealed envelope, with postage thereon fully prepaid, for
             collection and mailing on this same date following ordinary business
is           practices, addressed as set forth below.
     ~       (VIA FACSIMILE) By causing such document to be delivered to the
16
             office ofthe addressee via facsimile.
17
         IA~. OVERNIGHT DELIVERS B causing such envelope to be
I8
     0 ~elivered to the office ofthe addressees at the addresses) set forth
       above by overnight delivery via Federa xpress or by a similar overnight
             delivery service.
19

20            I declaxe under penalty of perjury under the laws ofthe State of California that the above
     is true and correct.
21
            Executed on September 2Q, 2019 at Los Angeles County, California.
22

z~           Alan T. Schroeder, Jr.
            IZPS LA County #6419
24              Exp. 12/13/21                               ~~         ~'a.;...i.r.:
                                                                            ~ ~        ~.
             [Type or Print Name]                                             .,
25




                                             PROOF O     ERVICE
Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 55 of 62 Page ID #:60




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                                          Exhibit #3
     Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 56 of 62 Page ID #:61


                  OF ~~S
                                             COUNTY OF LOS ANGELES
         J~aS~ ~'"~y~ A GE?
     ~~ '#~N;                                OFFICE OF THE COUNTY COUNSEL
     f                     FI+3~   +             648 KENNETH HAHN HALL OF ADMINISTRATION
     +                             ~
         k                     y                          500 WEST TEMPLE STREET
             x             x                                                                      TEL~PFiONE
                 ~quFoeN~~'                          LOS ANGELES, CALIFORNIA 90012-2713
                                                                                                  (213)974-1913
                                                                                                  FACSIMILE
RODRIGO A. CASTRO-SILVA                                                                           (213)687-8822
    County Counsel                                           January 11, 2021                     TDD
                                                                                                  (213)633-0901




                      Gary A. Salzman, Sr.
                      41029 172"d Street East
                      Lancaster, California 93535

                                       Re:    Claim Presented:                    November 10,2020
                                              File Number:                        XX-XXXXXXX*001
                                              Decedent:                           Gary Salzman, Jr.

                      Dear Claimant:

                              Notice is hereby given that the claim that you presented to the
                                                                                        2020, was
                      County of Los Angeles, Board of Supervisors on November 10,
                                                                                              will be
                      rejected by operation of law on December 28,2020. No further action
                      taken on this matter.
                                                                 WARNING

                               Subject to certain exceptions, you have only six (6) months from the date
                                                                                               court action
                       this notice was personally delivered or deposited in the mail to file a
                       on this claim. See Government Code Section 945.6.

                              This time limitation applies only to causes of action for which
                                                                                                Other
                       Government Code Sections 900 - 915.4 require you to present a claim.
                                                                              l law, may have differe nt
                       causes of action, including those arising under federa
                       time limitations.




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     Gary A. Salzman, Sr.
     January 11, 2021
     Page 2



             You may seek the advice of an attozney of your choice in connection with
     this matter. If you desire to consult an attorney, you should do so immediately.
                                              Very truly yours,

                                              RODR          . CASTRO-SILVA
                                              Count         sel

                                              By      ~~~
                                                            A. LEWIS
                                                   Principal Deputy County Counsel
                                                   Litigation Monitoring Team

     EAL:ce




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                                               PROOF OF SERVICE

►71                                           File No. 20-1163760x001

3 STATE OF CALIFORNIA, County of Los Angeles:

4        I am employed in the County of Los Angeles, State of California, over the age of eighteen
  years and not a party to the within action. My business address is 648 Kenneth Hahn Hall of
5 Administration, 500 West Temple Street, Los Angeles, California 90012-2713.

6             That on January,2021, I served the attached

7                                         NOTICE OF DENIAL LETTER

              Upon Interested Party(ies) by placing UX the original D a true copy thereof enclosed in a
      sealed envelope addressed ~' as follows D as stated on the attached s:,rvice list:
9
                         Gary A. Salzman, Sr.
10                       41029 172nd Street East
                         Lancaster, California 93535
11
              D          By United States mail. I enclosed the documents in a sealed envelope or package
12                       addressed to the persons at the addresses on the attached service list (specify one):

13            (1) ❑deposited the sealed envelope with the United States Postal Service, with the
                     postage fully prepaid.
14
              (2) L7 placed the envelope for collection and mailing, following ordinary business
15                   practices. I am readily familiar with this business's practice for collecting and
                     processing corresponde~lce for mailing. On the same day that correspondence is
16                   placed for collection and mailing, it is deposited in the ordinary course of business
                     with the United States Postal Service, in a sealed envelope with postage fully
17                   prepaid.

18                       I am a resident or employed in the county where the mailing occurred. The
                         envelope or package was placed in the mail at Los Angeles, California:
19
             I declare under penalty of perjury under the laws of the State of California that the
za    Foregoing is true and correct.

21             Executed on January/,2021, at Los Angeles, California.

22

23
              (NAIY~]E O~ DECLARANT)
24

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2'7

z~

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         Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 60 of 62 Page ID #:65


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                             SUPERIOR CQURT OF ~~tiLIFQRN2A
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M0~ 5A1b~770                                             FACE Nq. 1
THE PEOPLE QF 7H~ STATE OF C~'.LIFQRNTA    4`5.          CURRENT DATE 12/~,0/2fl
bE~~NDANT 01: GARY SAL2MAN
LA~ ~NFQRCEM~NT AGENCY E~F~ClING ACt~ES"C: LA5D -- WEST HCILLYWtapp STATION

BA~L: APFE,gRf~1V~CE    AMUUNT       GATE         RECEIPT QR        SURETY COMRANY     REGISTEEt
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     COUNT OZ: 243(C,~(1~ F~ FEI,
     CQUN7 Q3: 459 PC ~'EL
   PCUS~LLAS~ (~USTObY~
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dN ~5/~4f20 AT         $~Q AM    rN ~fi~~.P4RT Ct}UF~7H~U~E DEPT w30

CASE CALLED FOR ~4RRAIGNA~EN
PART=S. KEI7H ~„ S~CHWART~ (~ JpG~~ S7AC~Y E~JSL~Y` ~C~~R~,)
                    MARY KN~~E. (REP)           ~u~~~cxa aa~aa ~~~)
THE DEF~.N[?gNT SAILS Tfl APFS,~4R, W~TM SUFFTCSEfV7 ~K~USE~ (MASS-OUTS AIVL1 NO'T
  kEPR@SENTEG BY COUNSEL
QAZL SE7 A7 $15~,Q0~.
NEXT SCNEL~UL~D EV~I~7:
Q6f25/~Q    834 ABM ARRAg~NMEN'f      DTST 1#~CRPt~RT ~Ol1R~'HQtJS~ ~~PT W30

CUS70QY $Tp,TUS e E~EMAND~A TO C lS7dRY


C7N Q~/~~5f20 AT       $3Q AM    IN AIIcF~ORT COURTFtDUSE L7ERT W30

CASE ~4LLED FDR AFtRATGNM~N'T
PARTIES: K~YTH L. SCH4~AR7'~ (J•)DGE7            57'ACEY ~NSLEY ~CLERhC~            '
                  MARCH' KNQB~~.                  CREP) SHANE L. MZCF~A~L         [bA~

7H~ t}EF~NDANY FAILS TO APPEAR; WTTN SUF~Y~IENT EX~U~E. (IVlI$5~-t]UT) ANC? Nt~T
   RERRESEN'TEp ~Y COUNSEL
EtAIL SE7 ~T $15Q,OOQ
NEXT SCHEl7ULEa ~uENT~
  0~/26~2d     $30 AM ARitAIG~IME~:NT C1~ST AIRPaRT COUI~TMOU~E p~PT W3Q

~USTt~DY ~7ATU5: DEFENDAtvT R6M~,NDED


a~u as/~6/z~ aT        $3C1 AM   TN FtYI.PORT CQURTNaUS~ pEPT w30

CASE CALL~p FOR ARI~Y~aNlNE1VT
PARTI~S~ KEITH L..~CHwARTZ (7tD~,E) BRTbGETTE HUNTER (~~ERK)
                    MARCY KNOBEL            (REP) ~U~RE~IA BC?AI~Q (l~A~
                                                                                ANd NQT
THE DEF~NLIAN7 FAILS TO A~'K+~,412; W~`i'N SLiF~I~IEhtT E>CCUS~. , ~f~1T5S-QUT)
  REPRES~~ITEC~ ~Y CCIUNSEL
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                                              ~N~"~ '~~1~~llhhb'~           ~~ X461~ X99 Wd9~ ~ 4~ 4~4~~ G- Gf~ ~ Q~tl I ~:~~~
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CASE NO. 5A1b~77~                                              PAGE N0.   Z
DEF NQ. Q1                                                     DATE PRYNTEd 1~J10/20

  THE "INMgTE COURT EtE~USAL" DaCl1M~NT I5 R~CEIVEl~ FRtIM THE ~OUN7Y
  ]AID. BY FAX ON TNYS DATE.
  THE CQUR7 SIGNS AND I~SU~a~ AN ~XTR~ICTIOtJ flR~ER FqR MONbAY
  06/29/20. SAro ExTRACTT4N ~i~oER TS FAXf~a t0 THE COUNTY ]AFL BY
  'Y'H~ DEIST ~l3Q BAILIFF flN 7M= S DATE.

  {$AYL REMAINS A5 PR~VIOUSLI SET}
  ENTRY ~Y CLERIC B.HUNTER.
NFJf7 S~H~Ql1l.Eb EVENT:
  O6/2~/20      S~0 AM ARt~4~~N~ENT AND p~.EA       ~I57 A~RAORT CQU~rHQUSE DEPT w3U

CUSTODY S7A7U5: REMANDEp TO C' US'CODY

ON 06f29/20 A1"   $34 AM   ZIV AIf~POR7 CpURTHCMUSE DEPT w~0

SASE CALLE[7 FOR i~RRAZGNMENY A VD PLEA
PARTIES: KEITH L. SCHWART~ C7~JDGE] BkIDGETTH HUNTER            CLERK)
                    MARCY KN4BE_ (REP) -         LUCRECTA BQ~pO C~A~
D~FENI7ANT I3EMANOS CQUNSEL.
CQURT R~FEEtS DEFENDANT TQ 'i"HE PUBLIC DEFERRER.
P11St,TC DEF~NDEk APROINT~Cl. E_EANOR ~CIiNEIR - P.C1.
DEFENDANT I5 PRESENT IN ~QURT, ACJD RE~+RESENTED BY ~L~ANOR SCHNEIR ~EPUT'! f~UBLIC
    DEF~NpER
DE~~N~TANT STATES HISIH~~ TRUE NAME A5 CHARGEf1.
A COPY OF THE CQMPLAYNT ANd °~aE ARREST REPC7RT GIVEN Yd pEFENDAN75 COUNSEL.
DEFENDANT WAIVES ARRAIGNME~IY, READING d~ ~OMPLATNT, AND 5'TATE~IENT OF
   G4NS7YTUTZQNAL AND ST,~TU7C}R!RIGHTS a
DEF~NDgPIT PLEADS NOT GUYL7Y T') COUNT C1~., Z11. PC.
DEFENDANT i~l.EAQS MQT ~U~L7Y T~) COUNT f~2, 243~C~ ~~) PC.
DEFEIVC►ANT PLODS N07 GIJII~TY T~) COUNT ~~ ~ 459 PC,
TNT COUitT ORDERS A PRE~PLEA Fi~:PORT PURSUANT T(~ PENAL ~0[7E SECTION 1~i~~.7.
'THE DEFENDANT'S COUNSEL QOES 1407 C(Jf+lSEIVT '1'b A PRE-R'LEA YNTERVIEW.
   COURT ORDERS ~1ND FTND~NGS:
    THE COURT ORC►Ek5 THE REFENr~ANT TD ApP~AR QN THE H~XT COURT f?~►T~,
  TM~ ARRQTGNM~NT HEARING I~ MELD.         THE DEFENCIANT DEN2ES ALL

  PRIt71t CONVICTIONS, SPECIAL ,.LLEG~;T~ONS A~lD ENHANC~MENT~.

  DEFENSE ~OUNS~L'S t~MtAL MOTIi~N FpR RELEASE t~F THE DEFENDANT ON
  M15 DWN R~COGMI~ANCE YS HEA6.D ANQ 17ENIEd.
  DEFENSE CaUNS~L REQUESTS Tip HAVE THE CASE SET FQf~, I~RELIMINAFiY
  HEARING ~ THE ~~OURT SETS l~ PRELZMINlkRY' HEARING, ON 0$/11f~O.
  ENO TIME WAIVER}
  ENTRY, BY CLERK B.HUN7ER.
aazL sFr a-r $15o,aoo.
NEXT SCMEDULBa EVEPtI':
C1S/lZfZO  83Q AM PRELIMYNARI HEA~RZN~          D~:C~'7' AIRPOfZT Ct?URTMJLJS~ L7EPT W3~,
DAY 30 QF 30
CtJSTC►C~Y ~TAT4J~: REMANDEt~ 7Q CLSTODY




                                      W0~ '?~~l~~lf~d~              ~~a ~~6L~ G99 Wd9~ ~ ~~ 4~c~~~ ~ 4~~ G ~3f1 13~3~
        Case 2:21-cv-04604-PA-SK Document 1-1 Filed 06/04/21 Page 62 of 62 Page ID #:67




SASE Na. 5A1~2770                                              PAGE N4.   3
OEF Nb. 0~                                                     DATE PRTN7E~ 1ZflOj2Q


OM 07J~~j~a ~T     $~0 ~M

  MOTION FOR ~fi~ER APPQINT~N~~ P5Y~NTATR~57~PSY[HQLQG~ST
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PARTIES: CHRYSTUPHER W. C~YBNIF.D (JUDGE) RI~B~N ARMSTRONG (~~ERK)
                   RONA K. MF4'~ SU~AKI ~(REP;i   TIMQTHY ~. HENDERSpN             (pA7
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